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  13                      UNITED STATES DISTRICT COURT
  14        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  15
  16 SHAWN CARTER, also known as              Case No. 2:21-cv-04848-PA-KS
     JAY-Z, an individual,
  17                                          PLAINTIFF’S MOTION IN LIMINE
                  Plaintiff,                  NO. 4 (DEFENDANT MANNION’S
  18                                          BELIEF ABOUT THE LEGALITY
           v.                                 OF HIS CONDUCT);
  19                                          DECLARATION OF DYLAN C.
     JONATHAN MANNION, an                     BONFIGLI
  20 individual, and JONATHAN
     MANNION PHOTOGRAPHY LLC, a               The Honorable Percy Anderson
  21 New York limited liability company,
                                              Date:      July 11, 2022
  22              Defendants.                 Time:      1:30 p.m.
                                              Courtroom: 9A
  23
                                              Trial Date: July 19, 2022
  24
  25
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED
  26                       UNDER SEAL
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                                                                Case No. 2:21-cv-04848-PA-KS
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   1 TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
   2        PLEASE TAKE NOTICE that on July 11, 2022, at 1:30 p.m. or as soon as the
   3 matter may be heard, in Courtroom 9A of the above-titled Court, located at 350 W.
   4 1st Street, Los Angeles, California 90012, Plaintiff Shawn Carter will, and hereby
   5 does, move in limine for an order excluding all evidence regarding Jonathan
   6 Mannion’s claimed belief that his sale of prints and other products depicting
   7 persons, including Plaintiff, was lawful.
   8        This motion is based on this notice; the memorandum of points and
   9 authorities; the declaration of Dylan C. Bonfigli; all pleadings, records, and papers
  10 on file in this action; such other matters of which this Court may take judicial
  11 notice; and upon such other evidence and oral argument as may be considered by the
  12 Court before or at the hearing on this application.
  13        This motion is made following a conference of counsel pursuant to Local
  14 Rule 7-3 and Section II.B of this Court’s Civil Trial Scheduling Order (ECF No.
  15 52), which took place on May 20, 2022.
  16
  17 DATED: June 17, 2022                  QUINN EMANUEL URQUHART
                                               & SULLIVAN, LLP
  18
  19
                                           By /s/ Robert M. Schwartz
  20
                                              Alex Spiro (pro hac vice)
  21                                          Robert M. Schwartz
                                              Cory D. Struble
  22
                                              Dylan C. Bonfigli
  23                                          Attorneys for Plaintiff
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   1 I.      PRELIMINARY STATEMENT
   2         Plaintiff Shawn Carter, p/k/a Jay-Z, moves to exclude all evidence regarding
   3 Jonathan Mannion’s claimed belief that his sale of prints and other products
   4 depicting people, including Plaintiff, was lawful. To prevail on his right-of-
   5 publicity claims, Jay-Z need not show that Mannion knew that his conduct was
   6 unlawful. Nor is Mannion’s belief that his conduct was lawful relevant to any of his
   7 defenses—such as transformative use or statute of limitations.
   8         Nevertheless, Mannion intends to testify that he believed he acted within his
   9 legal rights when he plastered Jay-Z’s name, image, and likeness (“NIL”) on
  10 merchandise and his online store. That testimony is irrelevant. And it poses a
  11 danger of unfair prejudice, confusing the issues, and misleading the factfinder
  12 because, among other reasons, they may be led to believe that Mannion’s belief that
  13 his actions were lawful is a valid defense. It is not.
  14 II.     BACKGROUND
  15         Starting in 1996, Plaintiff and his record companies hired Mannion to take
  16 photos of Jay-Z for use on album covers and for other commercial purposes. While
  17 doing so, Mannion took thousands of photos. (Mannion Tr. [Bonfigli Dec. Ex. A] at
  18 243:3-6.) Mannion understood that the purpose of shoots was to take photos of Jay-
  19 Z that would be used to promote Jay-Z. (Id. 166:10-15.) Nevertheless, years after
  20 those shoots, Mannion registered the copyright to some of the Jay-Z photos and
  21 asserts that he owns the copyright to them. (Id. 61:2-15.)
  22         At his deposition, Mannion conceded that he never received permission from
  23 Jay-Z to sell products bearing Jay-Z’s NIL. (Id. 97:17-20.) But Mannion testified
  24 that he “thought [he] had the right to do it.” (Id. 97:5-16.) Mannion opined that
  25 “it’s within a photographer’s right to be able to sell fine art prints” “by nature of
  26 being the copyright holder.” (Id. 97:21-98:19.) Mannion testified that this
  27 understanding is based on advice from an attorney at Loeb & Loeb, who told him
  28 that “when you create a [photo] and you own the copyright, you’re able to sell fine
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   1 art prints.” (Id. 98:20-101:5.) Mannion also testified that this understanding was
   2 “reinforced with a number of different attorneys along the way,” including one of
   3 the attorneys that represents him in this case. (Id. 100:16-101:23, 102:11-15.)
   4         Mannion also opined that he believed he had the right to sell magnets, pins,
   5 and slipmats depicting Jay-Z, without “bring[ing] them to [Jay-Z’s] attention,”
   6 because doing so “commemorated a moment that was a fine art kind of celebration.”
   7 (Id. 97:21-98:12].) However, Mannion qualified his position when he testified that
   8 “moving into merch brings up another layer of conversation that should be had.”
   9 (Id. 102:20-103:6.) And he testified that if he was going to sell products in
  10 “massive quantities,” such as “a number of … garments with a person’s face on
  11 [them],” he would seek permission. (Id. 103:21-104:23.) But, according to
  12 Mannion, the way he “utilized” Jay-Z’s NIL on merchandise is “sort of” within his
  13 rights because he did not have “the intention of … mass producing” the products
  14 and sold them as part of “a fine art execution.” (Id. 103:21-104:23].)
  15         After Mannion’s deposition, the parties’ counsel discussed whether Mannion
  16 had waived the attorney-client privilege on this issue by testifying about the legal
  17 advice he received. (Bonfigli Dec. Ex. B.) Mannion’s counsel responded:
  18 “Defendants have not asserted an advice of counsel defense and will not otherwise
  19 rely on evidence about privileged communications.” (Id.) When the parties met and
  20 conferred on May 20, 2022, Mannion’s counsel again said that Mannion would not
  21 testify about advice he received from counsel. (Id. ¶ 6.) But his counsel said that
  22 Mannion intended to testify that he believed his actions were lawful. (Id.) That is a
  23 classic “sword and shield” abuse of the attorney-client privilege.
  24 III.    EVIDENCE OF MANNION’S BELIEF THAT HIS ACTS WERE
  25         LAWFUL IS NOT RELEVANT TO ANY CLAIM OR DEFENSE
  26         Only relevant evidence is admissible. Fed. R. Evid. 402. “Evidence is
  27 relevant if: (a) it has any tendency to make a fact more or less probable than it
  28 would be without the evidence; and (b) the fact is of consequence in determining the
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   1 action.” Fed. R. Evid. 401. “The elements of a right-of-publicity claim under
   2 California common law are: ‘(1) the defendant’s use of the plaintiff’s identity; (2)
   3 the appropriation of plaintiff’s name or likeness to defendant’s advantage,
   4 commercially or otherwise; (3) lack of consent; and (4) resulting injury.’” Keller v.
   5 Elec. Arts Inc., 724 F.3d 1268, 1273 (9th Cir. 2013). “The same claim under
   6 California Civil Code § 3344 requires a plaintiff to prove ‘all the elements of the
   7 common law cause of action’ plus ‘a knowing use by the defendant [and] a direct
   8 connection between the alleged use and the commercial purpose.’” Id.
   9         Mannion’s belief that his conduct was lawful is not relevant to any claim or
  10 defense. To prevail on his claims, Jay-Z need not prove that Mannion knew that his
  11 actions were unlawful. See Civ. Code § 3344. Nor are Mannion’s “subjective
  12 beliefs” somehow relevant to the question whether he had Jay-Z’s consent, because
  13 “consent is measured from Plaintiff’s manifested action or inaction.” Jones v.
  14 Corbis Corp., 815 F. Supp. 2d 1108, 1114 (C.D. Cal. 2011). And Mannion’s
  15 subjective beliefs are not relevant to any of his defenses—such as transformative use
  16 or statute of limitations. Thus, Mannion’s testimony that he believed his actions
  17 were lawful is not relevant and should be excluded. See Fed. R. Evid. 401, 402.
  18 IV.     EVIDENCE OF MANNION’S BELIEF THAT HIS ACTS WERE
  19         LAWFUL WILL MISLEAD AND WASTE TIME
  20         “The court may exclude relevant evidence if its probative value is
  21 substantially outweighed by a danger of … unfair prejudice, confusing the issues,
  22 [and] misleading the jury.” Fed. R. Evid. 403. Unfair prejudice “means an undue
  23 tendency to suggest decision on an improper basis.” Shuler v. City of L.A., 849 F.
  24 App’x 671, 673 (9th Cir. 2021). The Court should apply this rule here.
  25         First, allowing Mannion to testify that he believed his actions were lawful will
  26 pose a substantial risk that the factfinder will be misled into incorrectly believing
  27 that Jay-Z is required to show that Mannion knew his actions were unlawful, or that
  28 Mannion’s belief that his actions were lawful is a valid defense.
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   1         Second, Mannion will confuse the issues and mislead by testifying that he
   2 believed he had the right to sell prints “by nature of being the copyright holder.”
   3 This belief appears to be based on advice—valid or not—that Mannion received
   4 about copyright preemption. But “[w]hether copyright preemption applies is a
   5 question of law.” Ryan v. Editions Ltd. W., Inc., 786 F.3d 754, 759 (9th Cir. 2015).
   6 Allowing Mannion to introduce this concept to the jury poses a substantial risk that
   7 the jury may decide the case “on an improper basis,” resulting in unfair prejudice to
   8 Jay-Z. Shuler, 849 F. App’x at 673.
   9         Third, Mannion will confuse the issues and mislead with his testimony that he
  10 believed he had the right to sell merchandise bearing Jay-Z’s image because there
  11 was an “incredibly small quantity in conjunction with a fine art execution.”
  12 (Mannion Tr. [Bonfigli Dec. Ex. A] at 103:21-104:23.) There is no “small quantity”
  13 or “fine art” exception to the California common law or statutory right of publicity
  14 claims. Allowing Mannion to introduce these beliefs will pose a substantial risk that
  15 the jury may decide the case “on an improper basis.” Shuler, 849 F. App’x at 673.
  16         Defendants have stated that they are not relying on the advice of counsel and
  17 for that reason argued that they had not waived the privilege as to all
  18 communications between Defendants and their attorneys about the advice given on
  19 this subject, whether it applied to Defendants’ specific, actual conduct in this case,
  20 or otherwise. At the same time, Mannion’s belief about the supposed lawfulness of
  21 his conduct is based on that advice. He cannot be allowed to testify about his belief,
  22 while at the same time foreclosing inquiry into its basis. See, e.g., Shared Med.
  23 Res., LLC V. Histologics, 2012 WL 5570213, at *2 (C.D. Cal. Nov. 14, 2012) (a
  24 party may not use the attorney-client privilege “as both a sword and shield” by
  25 “selectively disclos[ing] fragments helpful to its cause [and] entomb[ing] other
  26 (unhelpful) fragments, … in that way kidnap the truthseeking process”).
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   1        And regardless, any probative value of Mannion’s belief that his actions were
   2 lawful is substantially outweighed by a risk that the testimony will confuse the
   3 issues and mislead the jury, resulting in unfair prejudice to Jay-Z.
   4 V.     CONCLUSION
   5        The Court should exclude all evidence regarding Mannion’s claimed belief
   6 that his actions were lawful.
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    1                            DEFENDANTS’ OPPOSITION
    2 I.      INTRODUCTION
    3         Defendants Jonathan Mannion and Jonathan Mannion Photography LLC
    4 (collectively, “Defendants”) hereby submit this opposition to Plaintiff Shawn
    5 Carter’s (“Plaintiff”) motion in limine seeking to exclude “all evidence regarding
    6 Jonathan Mannion’s claimed belief that his sale of prints and other products
    7 depicting people, including Plaintiff, was lawful.” Plaintiff’s request for exclusion
    8 is improper because Plaintiff plans to introduce numerous exhibits at trial to
    9 purportedly show that Defendant Mannion knew or should have known his conduct
   10 was unlawful—i.e., evidence relating to the same “subjective belief” that is the
   11 subject of this motion. While Defendants would agree that such evidence is not
   12 relevant, Defendants should not be unilaterally precluded from presenting their own
   13 testimony on a topic that Plaintiff has put at issue. Accordingly, Defendant would
   14 agree to a mutual exclusion that also prohibits Plaintiff from introducing evidence
   15 relating to Defendant Mannion’s subjective belief—i.e., what he knew or should
   16 have known about the lawfulness of his conduct concerning his sale of prints and
   17 other products depicting people, such as Plaintiff—including exclusion of the
   18 documents identified below. Otherwise, both the rule of completeness and the rule
   19 of curative admissibility require that Defendants be able to introduce their own
   20 evidence as to subjective belief. On this basis, Plaintiff’s requested relief should be
   21 denied—evidence of subjective belief must either all be excluded, or all be
   22 admissible.
   23 II.     RELEVANT BACKGROUND
   24         A.    The Claims at Issue
   25         Plaintiff asserts claims arising from Defendant Jonathan Mannion
   26 Photography LLC’s (“JMP”) use of eight photographs shot by Defendant Jonathan
   27 Mannion (“Mannion”) and featuring Plaintiff (the “Disputed Photographs”). First
   28 Amended Complaint (“FAC”) at ¶ 20-21; PTCO § VI.A. Specifically, Plaintiff
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    1 brings right-of-publicity claims over Defendants’ licensing of photographs, use of
    2 Plaintiff’s name, image, and likeness on JMP’s website, and sale of fine art prints
    3 and other physical items imprinted with the photographs through JMP’s own online
    4 store and, for the photographic prints, through a photography gallery. Id. ¶ 23.
    5        B.      Plaintiff’s Evidence of Subjective Intent
    6        On or about June 3, 2022, the parties filed their Joint Pre-Trial Exhibit List.
    7 Plaintiff’s exhibits contain several documents that go to the issue of Defendant
    8 Mannion’s subjective belief as to the lawfulness of his use of the Disputed
    9 Photographs, as well as photographs depicting other artists: Specifically, these
   10 exhibits involve Defendant Mannion’s discussions and correspondence concerning
   11 obtaining permission or clearance in connection with his photographs:
   12             • JX-54 (Declaration of Lika Miyake (“Miyake Decl.”) at Ex. U) –
   13
   14
   15                             ;
   16             • JX-65 (Id. at Ex. V) – Post-it note from JMP employee discussing
   17                obtaining approval from record label for use of one of the Photographs;
   18             • JX-93 (Id. at Ex. X), 173 (Id. Ex. Y) – August 2013 text message chain
   19                between Defendant Mannion and client discussing clearing an image
   20                with Plaintiff;
   21             • JX-162 (Id. at Ex. Z) – a September 20, 2010 letter to Defendant
   22                Mannion from record label stating it had no objection to use of certain
   23                of Plaintiff’s album shoots that are not the subject of this case;
   24             • JX-184 (Id. at Ex. AA) – 2021 internal strategy memorandum for JMP
   25                discussing use of “legally cleared” images;
   26             • JX-185 (Id. at Ex. BB) –
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    1              • JX-186 (Id. at Ex. CC) – handwritten note on JMP stationery
    2                referencing contractual cause and artist likenesses; and
    3              • JX-195 (Id. at Ex. DD) –handwritten note from JMP employee seeking
    4                clearance for use of images relating to Reasonable Doubt.
    5         It appears that Plaintiff will use these documents to argue that Defendant
    6 Mannion knew, or should have known, that he was not permitted to make the uses of
    7 the Disputed Photographs that are at issue in this action without Plaintiff’s consent.
    8 III.    ARGUMENT
    9         A.     Evidence Regarding Defendant Mannion’s Subjective Belief Is
   10                Admissible Because Plaintiff Has Put It at Issue
   11         Plaintiff seeks to prevent Defendants from presenting evidence as to
   12 Defendant Mannion’s subjective belief regarding the lawfulness of his conduct on
   13 the basis that such evidence is allegedly irrelevant. But regardless of relevance,
   14 because Plaintiff himself intends to broach this subject matter at trial, the
   15 evidentiary doctrines of completeness and curative admissibility both require that
   16 Defendants be able to testify on this topic. Beech Aircraft Corp. v. Rainey, 488 U.S.
   17 153, 155, 109 S. Ct. 439, 442, 102 L. Ed. 2d 445 (1988) (common-law rule of
   18 completeness requires that “when a party has introduced part of a writing, an
   19 adverse party may require the introduction of any other part which ought in fairness
   20 to be considered contemporaneously”); Nguyen v. Sw. Leasing & Rental Inc., 282
   21 F.3d 1061, 1067 (9th Cir. 2002) (“the introduction of inadmissible evidence by one
   22 party allows an opponent, in the court's discretion, to introduce evidence on the
   23 same issue to rebut any false impression that might have resulted from the earlier
   24 admission.”).
   25         As described above, Plaintiff has indicated his intent to present numerous
   26 exhibits which relate to Defendants’ clearance of images. In his responses to
   27 Defendants’ evidentiary objections, Plaintiff makes clear that this evidence will be
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    1 used to show Defendant Mannion’s purported awareness that he was obligated to
    2 obtain such licenses:
    3 • JX-53: “The document tends to show that Defendants…knew they were required
    4     to seek Plaintiff’s consent. ” Miyake Decl. Ex. JJ (6/3/22 Joint Pre-Trial Exhibit
    5     Stipulations) (emphasis added);
    6 • JX-93: The document “tends to prove that Mannion did not have, and knew he
    7     did not have, Plaintiff’s consent to use Plaintiff’s name, image, and likeness.”
    8     Id. (emphasis added);
    9 • JX-173: The document “tends to prove that Mannion did not have, and knew he
   10     did not have, Plaintiff’s consent to use Plaintiff’s name, image, and likeness.” Id.
   11     (emphasis added); and
   12 • JX-184: “To the extent evidence of Mannion’s subjective beliefs are permitted,
   13     the document is relevant because it tends to show that Mannion knew he needed
   14     to seek a recording artist’s permission before using the recording artist’s likeness
   15     on products.” Id. (emphasis added).
   16        In short, Plaintiff has signaled his plan to put evidence before the jury
   17 indicating, in Plaintiff’s interpretation, that Defendant Mannion knew he was not
   18 permitted to use the Disputed Photographs without Plaintiff’ consent. But if
   19 Plaintiff truly believed Defendant Mannion’s “subjective belief” is irrelevant to any
   20 claims or defenses, then he should not be putting on this evidence. As things stand,
   21 Plaintiff is seeking to put on one-sided evidence showing only that Defendant knew
   22 or should have known his conduct was unlawful. Regardless of whether or not the
   23 topic is relevant, if Plaintiff will be presenting such evidence, then Defendants must
   24 also be able to present evidence regarding subjective belief to paint a complete
   25 picture and “to rebut any false impression.” It would be grossly prejudicial if
   26 Plaintiff were able to introduce the above correspondence to the jury, and
   27 Defendants had no opportunity to speak to Defendant Mannion’s subjective belief
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    1 and state of mind, which goes to the meaning and context behind the statements
    2 upon which Plaintiff would rely.
    3         Because Plaintiff has put in evidence regarding Defendant Mannion’s
    4 subjective belief, Plaintiff cannot simultaneously exclude Defendants’ own evidence
    5 on this topic. In light of the evidence which Plaintiff intends to present at trial,
    6 Plaintiff’s present motion must be denied.
    7         B.    Evidence of Defendant Mannion’s Subjective Belief Would Not
    8               Prejudice the Jury
    9         Permitting Defendants to offer evidence on Defendant Mannion’s subjective
   10 belief after Plaintiff has already introduced the subject would result in de minimis
   11 prejudice. With respect to Plaintiff’s argument that such evidence is misleading
   12 because the jury might believe Plaintiff is required to show that Defendant Mannion
   13 knew his actions were unlawful, any such confusion will already have been created
   14 by Plaintiff’s own evidence of Defendant Mannion’s subjective belief. There is no
   15 additional confusion in permitting Defendants to present evidence on the same
   16 subject—hearing Defendant’s side of the argument may clarify issues for the jury.
   17         Next, Plaintiff argues the jury may be confused because Defendant Mannion
   18 might testify that he had the right to sell prints “by nature of being the copyright
   19 holder.” The issue of evidence regarding copyright ownership is addressed in a
   20 separate motion in limine brought by Plaintiff and has no bearing upon whether or
   21 not Defendants should be permitted to introduce testimony regarding Defendant
   22 Mannion’s subjective belief as to the lawfulness of his actions.
   23         Plaintiff also argues that the jury may be confused if Defendant Mannion
   24 were to a repeat a statement made in his deposition testifying that he thought he had
   25 the right to sell merchandise because he was only selling a small quantity of fine art,
   26 and jurors might believe this was an actual legal exception. Mot. 4:9-15. This
   27 objection is absurd. If jurors were inclined to believe that every utterance by a lay
   28 witness was a statement of some legal doctrine, then it would be virtually impossible
                                              -10-                  Case No. 2:21-cv-04848-PA-KS
                                                                    PLAINTIFF ’S M OTION I N LIMINE NO. 4
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    1 to have any trials by jury as the risk of confusion would be omnipresent. The Court
    2 will instruct the jury as to the correct legal standards to which they should adhere,
    3 and there is no risk of confusion meriting exclusion of Defendants’ testimony.
    4         Finally, Plaintiff complains that Defendants are taking a sword-and-shield
    5 position by refusing to waive attorney-client privilege as to Defendant Mannion’s
    6 conversations with counsel upon which his subjective beliefs as to the lawfulness of
    7 his conduct were based. These communications have no relevance whatsoever. As
    8 Plaintiff acknowledges, Defendants are not asserting an advice-of-counsel defense,
    9 and will not be putting into evidence any advice from any lawyer. The substance of
   10 these communications is not at issue and there is no basis for waiver of privilege.
   11         C.    At Minimum, Any Evidentiary Exclusion Must Be Mutual
   12         To be clear, Defendants have no need to introduce evidence of Defendant
   13 Mannion’s subjective belief other than to respond to evidence that Plaintiff has put
   14 in. If the Court is inclined to grant Plaintiff’s motion in limine, then Defendants
   15 respectfully request that the Court impose a similar restriction upon Plaintiff in the
   16 interest of fairness—namely, that the Court prohibit all evidence regarding
   17 Defendant Mannion’s alleged subjective belief regarding the lawfulness of his sale
   18 of prints and other products depicting people, including Plaintiff.1
   19 IV.     CONCLUSION
   20         For the foregoing reasons, Defendants respectfully request that Plaintiff’s
   21 motion to exclude all evidence regarding Jonathan Mannion’s claimed belief that his
   22 sale of prints and other products depicting persons, including Plaintiff, was lawful,
   23
   24
   25   Such an exclusion would encompass all of the documents cited herein (viz., JX-54,
        1


   26 JX-65, JX-93, JX-162, JX-173, JX-184, JX-185, JX-186, JX-195). While Plaintiff’s
      responses to evidentiary objections indicate that he would be agreeable to a mutual
   27 exclusion with respect to certain exhibits (e.g., JX-184, JX-210), this list is
   28 underinclusive.
                                                -11-                 Case No. 2:21-cv-04848-PA-KS
                                                                    PLAINTIFF ’S M OTION I N LIMINE NO. 4
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    1 be denied. In the alternative, any exclusionary order should be mutual and prevent
    2 both Plaintiff and Defendants from introducing evidence on this topic.
    3
    4
    5 DATED: June 17, 2022                 WILLENKEN LLP
    6
    7                                      By /s/ Paul J. Loh
    8                                         Paul J. Loh
                                              Lika C. Miyake
    9                                         Kenneth M. Trujillo-Jamison
   10
                                               ROCKSTONE LEGAL
   11                                          Sarah Hsia (pro hac vice)
   12
                                               PAUL HASTINGS LLP
   13                                          Steven A. Marenberg
   14                                          Attorneys for Defendants

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                                               -12-                 Case No. 2:21-cv-04848-PA-KS
                                                                PLAINTIFF ’S M OTION I N LIMINE NO. 4
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    1                                PLAINTIFF’S REPLY
    2         Defendants’ opposition confirms that Plaintiff’s motion should be granted.
    3         A.    Defendants agree that Mannion’s subjective beliefs are irrelevant.
    4         In the first paragraph of their opposition, Defendants concede that Mannion’s
    5 testimony that he believed his actions were lawful “is not relevant.” Supra at 6. To
    6 that end, Defendants recently said that Mannion will not testify that he believed his
    7 conduct was lawful, and Plaintiff withdrew the documents on the exhibit list related
    8 solely to that issue. Bonfigli Dec. ¶¶ 7-9. That is all the Court needs to know to
    9 grant Plaintiff’s motion to ensure that the testimony has been excluded. Defendants
   10 should not have opposed this motion. The Court need not address any other issue.
   11         B.    Defendants confuse subjective belief with consent.
   12         Defendants object to 8 exhibits that they say go to Mannion’s subjective
   13 beliefs. Supra at 7-8. In effect, Defendants attempt to hijack Plaintiff’s motion to
   14 turn it into their own fifth motion in limine. The Court should reject Defendants’
   15 attempt to do so: It violates the Court’s order that parties “must obtain the Court’s
   16 permission” before filing more than four motions in limine. ECF No. 52 at 8.
   17         In any event, Defendants’ list is defective. The documents are relevant to
   18 issues other than whether Mannion believed his conduct was lawful. Many show
   19 that Defendants did not have Plaintiff’s consent to use his name, image, and likeness
   20 (NIL). That is an element of Plaintiff’s claims. CACI 1803, 1804A. Indeed,
   21 Defendants ignore clear statements from Plaintiff that certain exhibits show that
   22 “Mannion did not have … Plaintiff’s consent.” Supra at 9. The other exhibits rebut
   23 Defendants’ assertions of copyright ownership. As shown below, the exhibits that
   24 Plaintiff has not withdrawn are relevant to issues in this case and should not be
   25 excluded:
   26         1.    Consent Documents (Joint Ex. Nos. 54, 93, 184, 186).
   27
   28                                                                     , Miyake Dec. Ex. U
                                                 -13-                  Case No. 2:21-cv-04848-PA-KS
                                                                   PLAINTIFF ’S M OTION I N LIMINE NO. 4
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    1 at ’695-96,
    2                            . JX-93 shows Mannion asked one of Plaintiff’s friends to
    3 “clear an image with Jay to be used on … Esquire TV” because there was “a
    4 ‘likeness’ situation.” Miyake Dec. Ex. X at ’709. And Mannion told Esquire TV it
    5 “had to get … clearance[].” Id. JX-184 shows Mannion planned to propose a
    6 partnership with Plaintiff’s company, Roc Nation, to sell garments bearing
    7 Plaintiff’s likeness. Miyake Dec. Ex. AA at ’337. JX-186 is a handwritten note on
    8 Mannion letterhead that references Jay-Z photos and states, “clause in contract – not
    9 responsible for likeness of artist – my disclaimer to usage.” Miyake Dec. Ex. CC.
   10 These exhibits show that Defendants did not have Plaintiff’s consent to use his NIL.
   11         2.    Copyright Documents (Joint Ex. Nos. 65, 162, 195). JX-65 is a
   12 handwritten note on Mannion letterhead that states Plaintiff’s record label, Def Jam,
   13 “own[s]” the “cover [photo] of Reasonable Doubt.” Miyake Dec. Ex. V. JX-162
   14 shows Mannion sought approval from Def Jam before allowing a book publisher to
   15 use photos of Plaintiff. Miyake Dec. Ex. Z.
   16
   17                                         Miyake Dec. Ex. BB. JX-195 is a handwritten
   18 note on Mannion letterhead showing that Defendants sought clearance from Def
   19 Jam before using Jay-Z photos. Miyake Dec. Ex. DD. As explained in Plaintiff’s
   20 MIL No. 1, this Court should exclude all evidence of copyright ownership and
   21 licensing because it is irrelevant. But if that evidence is allowed, these exhibits
   22 rebut Mannion’s assertions of ownership.
   23         C.    Mannion’s “belief” would confuse the jury.
   24         Defendants concede that testimony from Mannion about his subjective beliefs
   25 will result in “de minimis prejudice.” Supra at 10. Thus, the danger of unfair
   26 prejudice outweighs the testimony’s probative value because Defendants admit that
   27 the testimony has zero probative value. Supra at 6. Therefore, the Court can grant
   28 Plaintiff’s motion based on Rule 403 too.
                                              -14-                     Case No. 2:21-cv-04848-PA-KS
                                                                   PLAINTIFF ’S M OTION I N LIMINE NO. 4
Case 2:21-cv-04848-PA-KS Document 160 Filed 06/17/22 Page 19 of 65 Page ID #:6106




    1                                  CONCLUSION
    2        The Court should grant Plaintiff’s Motion in Limine No. 4.
    3
    4 DATED: June 17, 2022                 QUINN EMANUEL URQUHART
                                               & SULLIVAN, LLP
    5
    6
                                           By /s/ Robert M. Schwartz
    7
                                              Alex Spiro (pro hac vice)
    8                                         Robert M. Schwartz
    9                                         Cory D. Struble
                                              Dylan C. Bonfigli
   10                                         Attorneys for Plaintiff
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                                              -15-                  Case No. 2:21-cv-04848-PA-KS
                                                                PLAINTIFF ’S M OTION I N LIMINE NO. 4
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    1                    DECLARATION OF DYLAN C. BONFIGLI
    2         I, Dylan C. Bonfigli, declare as follows:
    3         1.    I am an attorney admitted to practice before this Court. I am associated
    4 with Quinn Emanuel Urquhart & Sullivan, LLP, counsel of record for Plaintiff
    5 Shawn Carter, professionally known as Jay-Z. I make this declaration in support of
    6 Plaintiff’s Motion in Limine No. 4. I make this declaration on personal, firsthand
    7 knowledge, and if called and sworn as a witness, I could and would testify
    8 competently to the facts set forth below.
    9         2.    Plaintiff’s Motion in Limine No. 4 seeks to exclude all evidence
   10 regarding Jonathan Mannion’s claimed belief that his sale of prints and other
   11 products depicting persons, including Plaintiff, was lawful.
   12         3.    The subject matter of Plaintiff’s Motion in Limine No. 4 has been
   13 discussed with opposing counsel, and opposing counsel has indicated that such
   14 matter may be mentioned or displayed in the presence of the jury before it is
   15 admitted in evidence and has refused to stipulate that such matter will not be
   16 mentioned or displayed in the presence of the jury unless and until it is admitted in
   17 evidence.
   18       4.      Plaintiff will be prejudiced if the Plaintiff’s Motion in Limine No. 4 is
   19 not granted because evidence regarding Mannion’s claimed belief that his sale of
   20 prints and other products depicting persons, including Plaintiff, was lawful is not
   21 relevant and, if presented, it will likely cause unfair prejudice to Plaintiff, confuse
   22 the issues, mislead the jury, and waste trial time. As stated in Plaintiff’s Motion in
   23 Limine No. 4, Mannion’s testimony that he believed his actions were lawful may
   24 mislead the factfinder into incorrectly believing that Plaintiff is required to show
   25 that Mannion knew his actions were unlawful or that Mannion’s belief that his
   26 actions were lawful is a valid defense.
   27         5.    Attached as Exhibit A is a true and correct copy of excerpts from the
   28 deposition of Jonathan Mannion taken on March 13, 2022.
                                            -16-                        Case No. 2:21-cv-04848-PA-KS
                                                                    PLAINTIFF ’S M OTION I N LIMINE NO. 4
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    1        6.    Attached as Exhibit B is a true and correct copy of an email chain
    2 between counsel for the parties. In a March 23, 2022 email, defense counsel states,
    3 “We have made clear that Defendants have not asserted an advice of counsel
    4 defense and will not otherwise rely on evidence about privileged communications.”
    5 When the parties met and conferred on May 20, 2022, defense counsel again said
    6 that Mannion would not testify about advice he received from counsel. But defense
    7 counsel stated that Mannion intended to testify that he believed his actions were
    8 lawful.
    9        7.    On June 10, 2022, I informed defense counsel via email that Plaintiff
   10 withdrew Joint Exhibit Nos. 209, 210, 221, and 231.
   11        8.    On June 11, 2022, I informed defense counsel via email that Plaintiff
   12 withdrew Joint Exhibit Nos. 53 and 92.
   13        9.    On June 17, 2022, I informed defense counsel via email that Plaintiff
   14 withdrew Joint Exhibit No. 220.
   15
   16        I declare under penalty of perjury under the laws of the United States that the

   17 foregoing is true and correct.
   18       Executed on June 17, 2022, at Los Angeles, California.

   19
   20
   21                                       By      /s/ Dylan C. Bonfigli
                                                    Dylan C. Bonfigli
   22
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                                                 -17-                 Case No. 2:21-cv-04848-PA-KS
                                                                  PLAINTIFF ’S M OTION I N LIMINE NO. 4
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    1                           ATTESTATION STATEMENT
    2        I, Robert M. Schwartz, the filer of this Joint Motion in Limine, attest pursuant
    3 to Civil L.R. 5-4.3.4(a)(2) that all other signatories listed, and on whose behalf the
    4 filing is submitted, concur in the filing’s content and have authorized the filing.
    5
    6 DATED: June 17, 2022                   QUINN EMANUEL URQUHART
                                                 & SULLIVAN, LLP
    7
    8
                                             By /s/ Robert M. Schwartz
    9
                                                Robert M. Schwartz
   10                                           Attorneys for Plaintiff
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                                                 -18-                  Case No. 2:21-cv-04848-PA-KS
                                                                   PLAINTIFF ’S M OTION I N LIMINE NO. 4
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                         Exhibit A
              Excerpts from the March 13, 2022
               Deposition of Jonathan Mannion
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                CONFIDENTIAL UNDER THE TERMS OF PROTECTIVE ORDER

  1      **CONFIDENTIAL UNDER THE TERMS OF PROTECTIVE ORDER**
  2
                          UNITED STATES DISTRICT COURT
  3
                         FOR THE DISTRICT OF CALIFORNIA
  4
  5
  6
                                            )
  7      SHAWN CARTER, also known )
         as JAY-Z,                )
  8                                         )
                      Plaintiff,            )
  9                                         )
             vs.                            )   Civil Action No.
 10                                             2:21-cv-04848-PA-KS
         JONATHAN MANNION,                  )
 11      et al.,
                                            )
 12                   Defendants.
                                            )
 13
 14
 15
 16              VIDEOTAPED DEPOSITION OF JONATHAN MANNION
 17                       Jersey City, New Jersey
 18                       Sunday, March 13, 2022
 19                              Volume I
 20
 21
 22      Reported by:
         LORI M. BARKLEY
 23      CSR No. 6426
 24      Job No. 5131261
 25      PAGES 1 - 300

                                                                   Page 1

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  1      that day.                                                        08:36:26

  2           Q.     So that means therefore that not only is             08:36:26

  3      there no signed contract by Mr. Carter authorizing               08:36:28

  4      you to sell copies of the photographs you took during            08:36:31

  5      the Reasonable Doubt photo shoot, there's no contract            08:36:34

  6      that authorizes you to spell any merchandise that                08:36:38

  7      incorporates any of the images you took during that              08:36:40

  8      photo shoot, correct?                                            08:36:43

  9           A.     Well, sort of going back to my point, by             08:36:50

 10      nature of me creating these images that copyright                08:36:52

 11      would belong to me and those agreements wouldn't be              08:36:54

 12      applicable.     The agreements would have further                08:36:58

 13      clarified the usage that           that would be controlled,     08:37:00

 14      had there been language, but there was no contract to            08:37:05

 15      be                                                               08:37:10

 16           Q.     I want to make sure I understand what you're         08:37:10

 17      telling me.     You're talking -- in your answer you're          08:37:13

 18      talking about something, you used the term                       08:37:15

 19      "copyright."                                                     08:37:19

 20           A.     Um-hmm.                                              08:37:19

 21           Q.     Correct?                                             08:37:20

 22           A.     Yeah.     The images would belong to me.             08:37:21

 23           Q.     Okay.                                                08:37:25

 24           A.     He --

 25                  (Speaking simultaneously.)

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  1      gave you his permission to sell any of the Jay-Z                 09:28:06

  2      items, correct?                                                  09:28:09

  3          A.     There was no direct conversation that he had          09:28:14

  4      that gave me that permission.                                    09:28:17

  5          Q.     Was there some indirect or less than direct           09:28:20

  6      conversation you had with Mr. Carter in which he gave            09:28:24

  7      you his permission to sell any of the Jay-Z items?               09:28:28

  8          A.     I mean, the only thing I would say is that            09:28:33

  9      the images were out there and well-known.          Nothing       09:28:34

 10      was sort of being hidden from plain sight.         And           09:28:37

 11      again, I thought that I had the right to do it, but              09:28:42

 12      they were -- they were certainly known and out there             09:28:47

 13      for all to see and witness.                                      09:28:49

 14                 So I don't know whether that gives any kind           09:28:52

 15      of, like, there was no issue that came from it, but              09:28:54

 16      no, there was no direct conversation with him.                   09:29:00

 17          Q.     So just to be clear, Mr. Carter never gave            09:29:03

 18      you his permission to sell any of the Jay-Z items,               09:29:06

 19      correct?                                                         09:29:09

 20          A.     There was no permission given.                        09:29:10

 21          Q.     And you've said that you thought that you             09:29:12

 22      had the right to sell the Jay-Z items; is that                   09:29:22

 23      correct?                                                         09:29:32

 24          A.     Yeah.   The prints for sure.       You know, fine     09:29:32

 25      art prints, it's within a photographer's right to be             09:29:36

                                                                        Page 97

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  1      able to sell fine art prints.       So it's sort of why I       09:29:38

  2      guess I asked before for that distinction.                      09:29:42

  3                And then the other four items that I believe          09:29:46

  4      you brought to my attention, I do feel fall within,             09:29:48

  5      you know, a range of items that commemorated a moment           09:29:53

  6      that was a fine art kind of celebration.           So -- so     09:30:01

  7      again, for -- and forgive me if I forgot the origin             09:30:06

  8      of the question, but you know, that was really the              09:30:10

  9      reason why I didn't bring them to his attention.                09:30:12

 10          Q.    The reason being you thought you had the              09:30:21

 11      right to do it?                                                 09:30:22

 12          A.    Correct.                                              09:30:23

 13          Q.    All right.    What was the source of your             09:30:24

 14      understanding that you had the right as the                     09:30:25

 15      photographer of photographs of Mr. Carter to sell               09:30:28

 16      prints of those photographs without getting his                 09:30:34

 17      permission?                                                     09:30:37

 18          A.    Just by nature of being the copyright                 09:30:38

 19      holder.                                                         09:30:40

 20          Q.    Did you have a discussion with an attorney            09:30:41

 21      who told you that by virtue of being the copyright              09:30:45

 22      holder of the photographs you took of Mr. Carter, you           09:30:51

 23      did not need Mr. Carter's permission to sell prints             09:30:54

 24      of those photographs?                                           09:30:58

 25          A.    I did.                                                09:30:59

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  1      copyright holder, and I think even at that time we           09:32:26

  2      registered the copyright through Loeb & Loeb at that         09:32:28

  3      time.                                                        09:32:30

  4                So during that discussion there was a              09:32:30

  5      general engaging of what I was able to do still              09:32:32

  6      without -- still not really having the intention,            09:32:37

  7      like, I'm a photographer that wants to make work.            09:32:40

  8      I'm not in, like, the merch business or the                  09:32:42

  9      merchandise business, if we give it its full name.           09:32:48

 10                I just wanted to know what the rights were         09:32:51

 11      and these are -- you know, I'm constantly trying to          09:32:53

 12      understand the nuances of the law to -- to play fair         09:32:55

 13      with everybody.    I mean, there's a lot to move with        09:33:01

 14      integrity and I think I've lasted this long because          09:33:05

 15      of that reason.                                              09:33:07

 16          Q.    What year did Steve Saltzman of Loeb & Loeb        09:33:14

 17      advise you that you did not need Mr. Carter's                09:33:17

 18      permission to sell prints of photographs of him?             09:33:20

 19          A.    It wasn't specifically about -- about Jay-Z.       09:33:23

 20      You know, it was a general as the copyright holder           09:33:25

 21      you are able to sell and do the following things.            09:33:28

 22                Right.   It wasn't specifically about Jay, it      09:33:34

 23      was just about the general ability to sell prints,           09:33:37

 24      when you create them and you own the copyright,              09:33:40

 25      you're able to sell fine art print.                          09:33:42

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  1                And that was an understanding that's being         09:33:45

  2      reinforced with a number of different attorneys along        09:33:46

  3      the way, just as I know laws continue to kind of             09:33:48

  4      move, and always want to be -- to make sure that I'm         09:33:52

  5      doing it -- doing it respectfully.                           09:33:55

  6          Q.     Okay.   In what year did Mr. Steve Saltzman       09:34:01

  7      give you the advice that you did not need permission         09:34:03

  8      from the subjects of your photographs to sell prints         09:34:07

  9      of those photos?                                             09:34:08

 10          A.     I believe that it was registered in 2012.         09:34:13

 11      Again, there's probably documentation to support, so         09:34:16

 12      around -- in or around that time.                            09:34:18

 13          Q.    And you said other lawyers, if I'm hearing         09:34:23

 14      you correctly, have told you since 2012 besides              09:34:27

 15      Mr. Steve Saltzman that you did not need permission          09:34:30

 16      from the people you were photographing in order to           09:34:36

 17      sell copies of photographs depicting them.                   09:34:39

 18                 Were there other lawyers who have told you        09:34:41

 19      that?                                                        09:34:43

 20          A.     Yeah.   There's been informal conversations,      09:34:43

 21      you know, along the way, like, you're allowed to do          09:34:48

 22      that.    As a copyright holder you can sell fine art         09:34:50

 23      prints and --                                                09:34:53

 24          Q.    And you've acted in reliance -- you've acted       09:34:54

 25      in selling the photographs of Mr. Carter on your             09:34:57

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  1      website and elsewhere, you've acted in reliance on            09:35:01

  2      that advice from Mr. Saltzman and others, correct?            09:35:03

  3          A.    Yeah.    I certainly would trust what they're       09:35:08

  4      telling me, you know.                                         09:35:11

  5          Q.    And can you identify for us by name any of          09:35:14

  6      the other lawyers who have given you this advice?             09:35:16

  7          A.    Not offhand.      Not offhand, only because I've    09:35:29

  8      forgotten his first name, but Greenberg was an                09:35:32

  9      attorney that I was discussing.         But I'm sorry, I      09:35:35

 10      don't have his first name right now.                          09:35:38

 11          Q.    Has Sarah given you that advice?                    09:35:39

 12          A.    I assume you're referring to my sort of             09:35:49

 13      day-to-day counsel who is on this call?                       09:35:50

 14                Yes.    I believe that she has offered me that      09:35:52

 15      same perspective.                                             09:35:56

 16          Q.    Okay.   Whether       now, have any of the          09:36:03

 17      lawyers that you've spoken with to get advice on              09:36:06

 18      whether -- on the uses to which you could -- let me           09:36:08

 19      start again.                                                  09:36:12

 20                Have any of the lawyers you've spoken with          09:36:12

 21      about the commercial uses or other uses you can make          09:36:14

 22      of photographs you've taken without getting                   09:36:19

 23      permission from the people depicted in those                  09:36:22

 24      photographs extended beyond just selling prints of            09:36:26

 25      those photographs, but to selling merchandise based           09:36:29

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  1      on those photographs?                                        09:36:32

  2          A.     I think there was an understanding that           09:36:40

   3     moving into merch brings up another layer of                 09:36:41

   4     conversation that should be had, right, and it was a         09:36:44

   5     general comment versus anything specific to                  09:36:49

   6     Mr. Carter.                                                  09:36:54

   7         Q.     I understand that we're talking outside of        09:36:55

   8     Mr. Carter specifically.                                     09:36:58

   9         A.     Okay.                                             09:36:59

 10          Q.     Right.   I understand from your answers to        09:37:00

 11      that.                                                        09:37:02

 12                 But my question is -- well, let me make sure      09:37:02

 13      I understand your answer.                                    09:37:07

 14                 You've said I think there was an                  09:37:08

 15      understanding that moving into merch, merchandise,           09:37:09

 16      brings up another layer of conversation that should          09:37:13

 17      be had.    And I just want to make sure I understand or      09:37:16

 18      somebody reading this will understand what you meant         09:37:22

 19      by that.                                                     09:37:24

 20          A.     Sure.                                             09:37:25

 21          Q.     What did you mean by "brings up another           09:37:25

 22      layer of conversation that should be had"?                   09:37:27

 23          A.     Well, look, you know, I'm not a lawyer which      09:37:33

 24      is why I rely on people to kind of give me that              09:37:35

 25      information, but, you know, for me I don't want to do        09:37:38

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  1      anything outside of what an artist would want.       So in   09:37:43

  2      the case of moving -- sorry, of selling items in sort        09:37:47

   3     of massive quantity, moving into like the intention          09:37:56

   4     of making a number of say garments with a person's           09:37:59

   5     face on, I would contact the artist just out of like         09:38:03

   6     best practice.                                               09:38:10

   7               You know, because merch, merchandise for           09:38:11

   8     sale, like if you were selling it at Target or Urban         09:38:15

   9     Outfitters or something, that's a different                  09:38:20

 10      conversation to be had.                                      09:38:22

 11                You know, the ways that I have utilized,           09:38:25

 12      using specifically with Jay-Z or his name, have been         09:38:31

 13      in conjunction with what I understand to be within           09:38:36

 14      sort of my rights to do, but also not with the               09:38:40

 15      intention of like mass producing these things.               09:38:44

 16                I mean, these were items, you know, less           09:38:49

 17      than 30 pieces created, you know, so incredibly small        09:38:51

 18      quantity in conjunction with a fine art execution.           09:38:57

 19                So but moving into, you know, certainly I          09:39:01

 20      know the merchandise business, if you're moving into,        09:39:03

 21      you know, tons of units and big buys would require a         09:39:07

 22      different approval from the artist or the -- as the          09:39:14

 23      case may be.                                                 09:39:21

 24          Q.    So is it correct, then, that you've                09:39:23

 25      understood since you've taken the photographs of             09:39:25

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  1          Q.    All right.    Let's go back to the Reasonable             12:12:15

  2      Doubt.   That was in 1996, correct?                                 12:12:18

  3          A.    That's correct.                                           12:12:20

  4          Q.    And at that point you were -- that was your               12:12:20

  5      first photo shoot for purposes of making a cover of a               12:12:25

  6      record album, right?                                                12:12:27

  7          A.    A specific album cover, yes.          There were          12:12:30

  8      covers of like singles and that and magazine covers                 12:12:34

  9      prior, but that was the first album cover.                          12:12:37

 10          Q.    When you were hired to -- for the Reasonable              12:12:40

 11      Doubt photo shoot, is it correct that you understood                12:12:44

 12      that the photos you would be taking would be used to                12:12:46

 13      promote Mr. Carter, Jay-Z and his music?                            12:12:51

 14          A.      For Reasonable Doubt at that time was what I            12:12:58

 15      understood the usage to be.                                         12:13:00

 16          Q.      So in other words, the answer is yes, you               12:13:01

 17      understood at the time you took the Reasonable Doubt                12:13:03

 18      photo shoot that the photos were going to be used to                12:13:06

 19      promote the Reasonable Doubt album by Mr. Carter?                   12:13:09

 20          A.      Yes.   I -- I understood that.          Sorry to talk   12:13:14

 21      over you.                                                           12:13:17

 22                  MR. SCHWARTZ:   And let's, Dylan, I'd like to           12:13:19

 23      mark what, Dylan, you may have in the folder as 71A                 12:13:31

 24      and B.   I'm not sure why it's an "A" and a "B."                    12:13:36

 25          Q.    But I want to show you a portion of a video               12:13:39

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  1                 Do you see that?                                      14:16:43

  2          A.     Yes, I do see that.                                   14:16:47

  3          Q.     And was that a true statement or were those           14:16:49

  4      true statements when you wrote those?                            14:16:51

  5          A.     I think I underestimated.         I think there       14:16:52

  6      were more images closer to 17,000 for Jay-Z projects.            14:16:54

  7          Q.     Okay.   Other than the fact that you believe          14:17:02

  8      maybe the 10,000 is closer to 17,000 photos, are the             14:17:09

  9      rest of the statements in the portion of this text               14:17:13

 10      that I read to you correct?                                      14:17:15

 11          A.     Yes.    It -- the top choices would have also         14:17:20

 12      increased, I think it was just a rough number, but               14:17:23

 13      everything else is correct.                                      14:17:27

 14          Q.     All right.    And okay -- all right.       Let's      14:17:32

 15      move on.                                                         14:17:40

 16                 Now, as you sit here today, do you                    14:17:41

 17      understand that Jay-Z wants you to stop selling                  14:17:43

 18      prints of the photos you took of him?                            14:17:47

 19          A.     You know, I don't know what he wants.                 14:17:50

 20      Because he's never made that entirely clear.           I         14:17:52

 21      think -- I've been told that -- I've been told a                 14:17:59

 22      number of things.       And we've offered a number of            14:18:05

 23      things in response, but I don't know what he wants to            14:18:09

 24      be honest.                                                       14:18:11

 25          Q.     Well, I could show you if it would be                 14:18:11

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  1                        I declare under penalty of
  2                    perjury under the laws of the State
  3                   of California that the foregoing is
  4                   true and correct.
  5                        Executed on _____________, 2022, at
  6
  7

  8
  9

 10
 11                              SIGNATURE OF WITNESS
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25

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  1      STATE OF CALIFORNIA                  ss.
  2      COUNTY OF LOS ANGELES
  3
  4                  I, Lori M. Barkley, CSR No. 6426, do hereby
  5      certify:
  6                  That the foregoing deposition testimony
  7      taken before me at the time and place therein set
  8      forth and at which time the witness was administered
  9      the oath;
 10                  That the testimony of the witness and all
 11      objections made by counsel at the time of the
 12      examination were recorded stenographically by me, and
 13      were thereafter transcribed under my direction and
 14      supervision, and that the foregoing pages contain a
 15      full, true and accurate record of all proceedings and
 16      testimony to the best of my skill and ability.
 17                  I further certify that I am neither counsel
 18      for any party to said action, nor am I related to any
 19      party to said action, nor am I in any way interested
 20      in the outcome thereof.
 21                  IN WITNESS WHEREOF, I have subscribed my
 22      name this 15th day of March, 2022.
 23
 24


 25                  LORI M. BARKLEY, CSR No. 6426

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                         Exhibit B
                  March 23, 2022 Email from
                  Defense Counsel to Bonfigli
    Case 2:21-cv-04848-PA-KS Document 160 Filed 06/17/22 Page 38 of 65 Page ID #:6125


Dylan Bonfigli

From:                             Kirby Hsu <khsu@willenken.com>
Sent:                             Wednesday, March 23, 2022 7:47 PM
To:                               Dylan Bonfigli; Kenneth Trujillo-Jamison; Paul Loh; Lika C. Miyake;
                                  stevenmarenberg@paulhastings.com; kiauraclark@paulhastings.com; Sarah Hsia
Cc:                               Alex Spiro; Robert Schwartz; Cory Struble
Subject:                          RE: [EXTERNAL] Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS


                                       [EXTERNAL EMAIL from khsu@willenken.com]


Cory, Dylan,

Thank you for meeting and conferring with us this afternoon. As discussed, we are responding in writing to your March
21 email.

We will not produce any privileged material that Mr. Mannion did not disclose at deposition. As pointed out during our
call, FRE 502(a) and cases about the rule make clear that a broad subject matter waiver covering undisclosed privileged
material is the exception. It occurs only when the disclosing party intends to use privilege as both a sword and a shield
by selectively presenting evidence of protected materials. See Dynetix Design Sols. Inc. v. Synopsys Inc., 2013 WL
3584994, at *2 (N.D. Cal. July 11, 2013). We have made clear that Defendants have not asserted an advice of counsel
defense and will not otherwise rely on evidence about privileged communications. Thus, the waiver here is limited to
what Mr. Mannion disclosed.

We also will not produce any material protected by the work product doctrine, which are outside of Mr. Mannion’s
disclosure. Indeed, your March 16 email rightly pointed out that he “was specific” in disclosing that, beginning in 2012,
he received legal advice orally from three attorneys about whether he could sell prints of or merchandise with
photographs to which he holds the copyrights (i.e., photographs that he took), without permission from photographed
individuals. The disclosed communications necessarily were made before Mr. Mannion decided to sell anything with the
photographs at issue and before the dispute that led to this lawsuit arose.

While Mr. Mannion disclosed only oral communications, we are willing to search his emails for communications with the
domains in column A (from our March 18 email), plus the terms in column B and most of the terms that you propose
adding. The terms we will not use are “Saltzman,” “Hsia,” or “Greenberg,” which necessarily would cover all
communications involving those attorneys.

We will produce documents collected from the search to the extent those documents: (a) fall within the scope of the
limited privilege waiver, (b) are responsive to Plaintiff’s document requests, and (c) were made between Jan. 1, 2012,
and June 14, 2021. If there are documents outside of the search results that Defendants are aware of and that fit these
criteria, we will produce them too. Given the broad additional terms that you have proposed and that we will use, we
anticipate producing these documents by April 8.

Kirby

From: Dylan Bonfigli <dylanbonfigli@quinnemanuel.com>
Sent: Tuesday, March 22, 2022 3:09 PM
To: Kirby Hsu <khsu@willenken.com>; Kenneth Trujillo-Jamison <ktrujillo-jamison@willenken.com>; Paul Loh
<ploh@willenken.com>; Lika C. Miyake <lmiyake@willenken.com>; stevenmarenberg@paulhastings.com;
kiauraclark@paulhastings.com; Sarah Hsia <sarah@rockstonelegal.com>

                                                             1
     Case 2:21-cv-04848-PA-KS Document 160 Filed 06/17/22 Page 39 of 65 Page ID #:6126
Cc: Alex Spiro <alexspiro@quinnemanuel.com>; Robert Schwartz <robertschwartz@quinnemanuel.com>; Cory Struble
<corystruble@quinnemanuel.com>
Subject: RE: [EXTERNAL] Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS

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recognize the sender and know the content is safe.

Hi Kirby, we are available at 2:30 pm PT tomorrow.

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From: Kirby Hsu <khsu@willenken.com>
Sent: Tuesday, March 22, 2022 2:57 PM
To: Dylan Bonfigli <dylanbonfigli@quinnemanuel.com>; Kenneth Trujillo-Jamison <ktrujillo-jamison@willenken.com>;
Paul Loh <ploh@willenken.com>; Lika C. Miyake <lmiyake@willenken.com>; stevenmarenberg@paulhastings.com;
kiauraclark@paulhastings.com; Sarah Hsia <sarah@rockstonelegal.com>
Cc: Alex Spiro <alexspiro@quinnemanuel.com>; Robert Schwartz <robertschwartz@quinnemanuel.com>; Cory Struble
<corystruble@quinnemanuel.com>
Subject: RE: [EXTERNAL] Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS

                                         [EXTERNAL EMAIL from khsu@willenken.com]


Dylan, we request a call to meet and confer on this issue. Please let us know when you are available tomorrow or
Thursday to discuss.

Kirby

From: Dylan Bonfigli <dylanbonfigli@quinnemanuel.com>
Sent: Monday, March 21, 2022 3:01 PM
To: Kirby Hsu <khsu@willenken.com>; Kenneth Trujillo-Jamison <ktrujillo-jamison@willenken.com>; Paul Loh
<ploh@willenken.com>; Lika C. Miyake <lmiyake@willenken.com>; stevenmarenberg@paulhastings.com;
kiauraclark@paulhastings.com; Sarah Hsia <sarah@rockstonelegal.com>
Cc: Alex Spiro <alexspiro@quinnemanuel.com>; Robert Schwartz <robertschwartz@quinnemanuel.com>; Cory Struble
<corystruble@quinnemanuel.com>
Subject: [EXTERNAL] Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS

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recognize the sender and know the content is safe.

Kirby, thank you for your email.

First, we do not agree with Defendants attempt to limit the scope of their search to documents “with legal
advice” and that address “photographs to which Mannion holds the copyrights.” To be clear, we expect
Mr. Mannion to search for and produce all documents and communications, without date limitation, that
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constitute, refer, or relate to any advice that Mr. Mannion has received from any attorney, including, without
limitation, Ms. Hsia, Stephen Saltzman, Joel L. Hecker, Edward Greenberg, and Damali Peterman, regarding
his rights, or lack thereof, to sell prints of, or merchandise bearing, any photograph that is in his possession
custody or control, irrespective whether he holds the copyright to such photograph (the “Responsive
Documents”). Please confirm that Defendants will carry out a search for and produce any Responsive
Documents.

Second, your email states that “there is no need for additional custodians.” Please confirm that Mr. Mannion
has copies of any and all Responsive Documents. Otherwise, Mr. Mannion is obligated to obtain the
Responsive Documents from his attorneys.

Third, your email states that Mr. Mannion “received the legal advice from three attorneys” and then identifies
search terms that Defendants propose using to “collect documents.” To be clear, to the extent Defendants are
aware of Responsive Documents that are in Mr. Mannion’s (or his attorneys’) possession, custody, or control,
those documents must be produced whether or not they are responsive to any search terms. Please confirm that
Defendants will produce all Responsive Documents of which they are aware, whether or not they are responsive
to search terms.

As to the proposed search terms, your email states that Defendants will “collect documents by running searches
using combinations of columns A and B.” Please clarify how Defendants intend to use the search terms in
columns A and B, and as to which custodians’ documents those search terms will be used. For example, do
Defendants intend to search Mr. Mannion’s emails to or from the domains in column A by using the search
terms in column B?

Also, we do not believe that the search terms below are sufficient and propose that Defendants run the
following search terms against Mr. Mannion’s communications with the email domains in column A (assuming
that the email domains in column A include the email domains for all attorneys with whom Mr. Mannion
communicated regarding the topics on which he’s waived privilege):
•        right* w/3 publicity
•        right* w/3 privacy
•        “model release”
•        “right of publicity”
•        “right of privacy”
•        “name and likeness”
•        “name, image, and likeness”
•        “3344”
•        artist* w/3 permission or consent or authorization or approval
•        celeb* w/3 permission or consent or authorization or approval
•        merch* w/5 permission or consent or authorization or approval
•        saltzman
•        hsia
•        greenberg

Finally, your email states that Defendants will not “produce materials prepared in anticipation of or during this
lawsuit, which are subject to the work product doctrine.” We are not aware of any authority providing that a
party can waive attorney-client privilege as to a topic while preserving work-product protection on that same
topic—particularly when the attorney responsible for the work product is the same attorney that would have
provided the legal advice as to which privilege has been waived (as would be the case for Ms. Hsia and,
potentially, Mr. Saltzman). If you have such authority, we’ll consider it. Otherwise, please confirm by March
23 that Defendants will produce documents on the topics as to which Mr. Mannion has waived privilege,

                                                         3
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without date limitation and including communications with Ms. Hsia and Mr. Saltzman that may have been
prepared in anticipation of or during this lawsuit.

All rights are reserved.

Best,
Dylan Bonfigli
Associate
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Los Angeles, CA 90017
443-370-6747 Cell
213-443-3610 Direct
213-443-3000 Main Office Number
213-443-3100 Fax
dylanbonfigli@quinnemanuel.com
www.quinnemanuel.com




From: Kirby Hsu <khsu@willenken.com>
Sent: Friday, March 18, 2022 7:13 PM
To: Dylan Bonfigli <dylanbonfigli@quinnemanuel.com>; Kenneth Trujillo-Jamison <ktrujillo-jamison@willenken.com>;
Paul Loh <ploh@willenken.com>; Lika C. Miyake <lmiyake@willenken.com>; stevenmarenberg@paulhastings.com;
kiauraclark@paulhastings.com; Sarah Hsia <sarah@rockstonelegal.com>
Cc: Alex Spiro <alexspiro@quinnemanuel.com>; Robert Schwartz <robertschwartz@quinnemanuel.com>; Cory Struble
<corystruble@quinnemanuel.com>
Subject: RE: [EXTERNAL] Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS

                                         [EXTERNAL EMAIL from khsu@willenken.com]


Dylan,

First, we want to be clear on the scope of what Defendants are willing to search for and produce: documents with legal
advice about whether Defendants can sell prints or merchandise on which photographs to which Mr. Mannion holds the
copyrights are printed. Plaintiff is not entitled to other privileged matters, such as communications with attorneys
concerning licensing negotiations or the enforcement of Mr. Mannion’s copyrights.

Second, your email is incorrect that Defendants have not produced any documents in response to the portions of
Plaintiff’s RFP Nos. 45, 54, and 55 that you quote.

Third, there is no need for additional custodians. Mr. Mannion, one of our original custodians, is the relevant custodian
for any “documents and communications … Mr. Mannion has received” with the legal advice described above.

Fourth, Mr. Mannion received the legal advice from three attorneys: Stephen Saltzman, Sarah Hsia, and Edward
Greenberg. We will collect documents by running searches using combinations of columns A and B:

 Column A                                        Column B
 ssaltzman@loeb.com                              print* w/5 “sell”
 stephensaltzman@paulhastings.com                print* w/5 sale*
 stephen.saltzman@fieldfisher.com                merch* w/5 “sell”
 sarah@rockstonelegal.com                        merch* w/5 sale*
 ecglaw@gmail.com


                                                            4
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If there are any documents with the legal advice described above, we will produce them by March 25. We will not,
however, produce materials prepared in anticipation of or during this lawsuit, which are subject to the work product
doctrine.

Kirby

From: Dylan Bonfigli <dylanbonfigli@quinnemanuel.com>
Sent: Wednesday, March 16, 2022 9:13 AM
To: Kenneth Trujillo-Jamison <ktrujillo-jamison@willenken.com>; Paul Loh <ploh@willenken.com>; Lika C. Miyake
<lmiyake@willenken.com>; Kirby Hsu <khsu@willenken.com>; stevenmarenberg@paulhastings.com;
kiauraclark@paulhastings.com; Sarah Hsia <sarah@rockstonelegal.com>
Cc: Alex Spiro <alexspiro@quinnemanuel.com>; Robert Schwartz <robertschwartz@quinnemanuel.com>; Cory Struble
<corystruble@quinnemanuel.com>
Subject: [EXTERNAL] Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS

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recognize the sender and know the content is safe.

Counsel,

During his March 13 deposition, Mr. Mannion testified about legal advice he has received regarding the legality
of selling prints of photographs and merchandize bearing the image and likeness of celebrities. He was
specific. He said that, around 2012, Steve Saltzman of Loeb & Loeb advised him that “when you … own the
copyright you’re able to sell fine art print[s] and that was an understanding … reinforced with a number of
different attorneys along the way.” Mannion Rough Tr. at 84. Mr. Mannion also testified that, based on
conversations with attorneys over the years, “moving into merch brings up another layer of conversations that
should be had.” Mannion Rough Tr. at 85. Mr. Mannion also testified that Ms. Hsia offered him “the same
perspective.” Mannion Rough Tr. at 85. This is the first time that Defendants have disclosed this advice of
counsel.

That disclosure carries additional discovery consequences. We served requests for production on Defendants
seeking, among other things, all documents and communications that refer or relate to (1) “the licensing or
granting of rights to use photographs containing JAY-Z's name, image, or likeness,” RFP No. 45, “any licenses,
contracts, or other agreements that REFER or RELATE to the JAY-Z PHOTOGRAPHS,” RFP No. 54, and
(3) Mr. Mannion’s “rights to make use of or exploit the JAY-Z PHOTOGRAPHS or any other photograph
depicting JAY-Z,” RFP No. 55.

Defendants have not produced any communications or other documents related to these matters. Defendants
must produce all documents and communications, without date limitation, that constitute, refer, or relate to any
advice that Mr. Mannion has received from any attorney, including, without limitation, Ms. Hsia, Stephen
Saltzman, Joel L. Hecker, and Damali Peterman, regarding his rights, or lack thereof, to make use of or
otherwise exploit any photograph in his possession, custody, or control. Such docume nts relate to, among other
things, Mr. Mannion’s “rights to make use of or exploit the JAY-Z PHOTOGRAPHS or any other photograph
depicting JAY-Z,” RFP No. 55, and are now subject to discovery in light of Mr. Mannion’s testimony.

Additionally, because we could not have previously anticipated that Defendants would be relying on their
advice of counsel, new search terms may well be in order as it was not previously contemplated that such
documents would be produced. Please inform us immediately of the additional search terms you propose using
and the custodians and data sources against which you intend to run such search terms so that we may counter-
propose any other that may be necessary.


                                                           5
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Please confirm before March 18 that you will produce these documents before March 25. The foregoing is
without waiver of any rights and remedies, all of which are expressly reserved.

Thank you,
Dylan Bonfigli
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213-443-3000 Main Office Number
213-443-3100 Fax
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From: Dylan Bonfigli
Sent: Saturday, March 12, 2022 4:17 PM
To: 'Kenneth Trujillo-Jamison' <ktrujillo-jamison@willenken.com>
Cc: Robert Schwartz <robertschwartz@quinnemanuel.com>; 'Paul Loh' <ploh@willenken.com>; 'Lika C. Miyake'
<lmiyake@willenken.com>; 'Kirby Hsu' <khsu@willenken.com>; 'Julie Contreras' <jcontreras@willenken.com>; 'Lisa
Gibbons' <lgibbons@willenken.com>; Alex Spiro <alexspiro@quinnemanuel.com>; Cory Struble
<corystruble@quinnemanuel.com>; 'stevenmarenberg@paulhastings.com' <stevenmarenberg@paulhastings.com>;
'kiauraclark@paulhastings.com' <kiauraclark@paulhastings.com>; 'Sarah Hsia' <sarah@rockstonelegal.com>
Subject: RE: [EXTERNAL] RE: Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS

Hi all – for Mr. Mannion’s deposition tomorrow, just a reminder that daylight savings time is tonight, so we are
losing an hour (or springing forward an hour).

Best,

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From: Dylan Bonfigli
Sent: Friday, March 11, 2022 7:17 AM
To: Kenneth Trujillo-Jamison <ktrujillo-jamison@willenken.com>
Cc: Robert Schwartz <robertschwartz@quinnemanuel.com>; Paul Loh <ploh@willenken.com>; Lika C. Miyake
<lmiyake@willenken.com>; Kirby Hsu <khsu@willenken.com>; Julie Contreras <jcontreras@willenken.com>; Lisa
Gibbons <lgibbons@willenken.com>; Alex Spiro <alexspiro@quinnemanuel.com>; Cory Struble
<corystruble@quinnemanuel.com>; stevenmarenberg@paulhastings.com; kiauraclark@paulhastings.com; Sarah Hsia
<sarah@rockstonelegal.com>
Subject: RE: [EXTERNAL] RE: Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS

Kenneth,

We confirm that we’ll start Mr. Mannion’s deposition at 7 am PT on March 13 and Ms. Perez’s at 7 am PT on
March 14.
                                                        6
       Case 2:21-cv-04848-PA-KS Document 160 Filed 06/17/22 Page 44 of 65 Page ID #:6131


T h a n k y o u,

D yl a n B o n fi gli
A s s o ci at e
Q ui n n E m a n u el U r q u h a rt & S ulli v a n, L L P
8 6 5 S. Fi g u e r o a S t r e et, 1 0t h Fl o o r
L o s A n g el e s, C A 9 0 0 1 7
4 4 3 - 3 7 0 - 6 7 4 7 C ell
2 1 3 - 4 4 3 - 3 6 1 0 Di r e ct
2 1 3 - 4 4 3 - 3 0 0 0 M ai n Offi c e N u m b e r
2 1 3- 4 4 3- 3 1 0 0 F a x
d yl a n b o nfi gli @ q ui n n e m a n u el. c o m
w w w. q ui n n e m a n u el. c o m




Fr o m: K e n n et h Tr ujill o-J a mis o n <ktr ujill o-j a mis o n @ will e n k e n. c o m >
S e nt: T h urs d a y, M ar c h 1 0, 2 0 2 2 1: 3 2 P M
T o: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >
C c: R o b ert S c h w artz <r o b erts c h w artz @ q ui n n e m a n u el. c o m >; P a ul L o h < pl o h @ will e n k e n. c o m >; Li k a C. Mi y a k e
< l mi y a k e @ will e n k e n. c o m>; Kir b y Hs u < k hs u @ will e n k e n. c o m >; J uli e C o ntr er as < j c o ntr er as @ will e n k e n. c o m>; Lis a
Gi b b o ns < l gi b b o ns @ will e n k e n. c o m>; Al e x S pir o < al e xs pir o @ q ui n n e m a n u el. c o m >; C or y Str u bl e
< c or ystr u bl e @ q ui n n e m a n u el. c o m >; st e v e n m ar e n b er g @ p a ul h asti n gs. c o m ; ki a ur a cl ar k @ p a ul h asti n gs. c o m ; S ar a h Hsi a
< s ar a h @r o c kst o n el e g al. c o m >
S u bj e ct: R E: [ E X T E R N A L] R E: S h a w n C art er v. J o n at h a n M a n ni o n et al, C. D. C al., 2: 2 1- c v- 0 4 8 4 8- P A- K S

                                                             [ E X T E R N A L E M AI L fr o m ktr ujill o-j a mis o n @ will e n k e n. c o m ]


T h a n ks D yl a n f or c o nfir mi n g t h e p arti es’ a gr e e m e nt o n t h e c h a n g es t o t h e d e a dli n e f or e x p ert r e p orts a n d t h e s u m m ar y
j u d g m e nt fili n g d at e.

T h e pr o p os e d or d er l o o ks fi n e t o us. W e pr o p os e d a c o u pl e mi n or e dits t o t h e sti p ul ati o n t o c o m pl y wit h S e cti o n I. E. of
t h e S c h e d uli n g Or d er. If y o u ar e o k wit h t h os e e dits, y o u h a v e o ur a ut h oriz ati o n t o e-si g n o n o ur b e h alf.

As f or d e p ositi o ns, w e c a n st art Ms. P er ez’s d e p o siti o n o n M ar c h 1 4 t o st art at 7 a m, pr o vi d e d t h at y o u a gr e e t o
a c c o m m o d at e a st art ti m e of 7 a m f or Mr. M a n ni o n’s d e p o siti o n o n M ar c h 1 3 t o a c c o m m o d at e his s c h e d ul e.

R e g ar ds,

                          K e n n et h M. Tr ujill o- J a mi s o n
                          Dir e ct: 2 1 3. 9 5 5. 8 0 3 1 | F a x: 2 1 3. 9 5 5. 9 2 5 0 | ktr ujill o-j a mi s o n @ will e n k e n. c o m | w w w.li n k e di n. c o m/i n/ k e n n et h-tr ujill o-j a mi s o n
                          WI L L E N K E N L L P | 7 0 7 Wil s hir e Bl v d. | S uit e 3 8 5 0 | L o s A n g el e s, C A 9 0 0 1 7 | will e n k e n. c o m |



                          T h e i nf or m ati o n c o nt ai n e d i n t hi s c o m m u ni c ati o n i s c o nfi d e nti al, m a y b e att or n e y- cli e nt pri vil e g e d, m a y c o n stit ut e i n si d e
                          i nf or m ati o n, a n d i s i nt e n d e d o nl y f or t h e u s e of t h e a d dr e s s e e. It i s t h e pr o p ert y of Will e n k e n L L P. U n a ut h ori z e d u s e,
                          di s cl o s ur e, or c o p yi n g of t hi s c o m m u ni c ati o n or a n y p art t h er e of i s stri ctl y pr o hi bit e d a n d m a y b e u nl a wf ul. If y o u h a v e
                          r e c ei v e d t hi s c o m m u ni c ati o n i n err or, pl e a s e n otif y u s i m m e di at el y b y r et ur n e m ail a n d d e str o y t hi s c o m m u ni c ati o n a n d
                          all c o pi e s t h er e of, i n cl u di n g al l att a c h m e nt s.



Fr o m: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >
S e nt: T h urs d a y, M ar c h 1 0, 2 0 2 2 6: 4 5 A M
T o: K e n n et h Tr ujill o-J a mis o n <ktr ujill o-j a mis o n @ will e n k e n. c o m >
C c: R o b ert S c h w artz <r o b erts c h w artz @ q ui n n e m a n u el. c o m >; P a ul L o h < pl o h @ will e n k e n. c o m >; Li k a C. Mi y a k e
< l mi y a k e @ will e n k e n. c o m>; Kir b y Hs u < k hs u @ will e n k e n. c o m >; J uli e C o ntr er as < j c o ntr er as @ will e n k e n. c o m>; Lis a

                                                                                                                7
     Case 2:21-cv-04848-PA-KS Document 160 Filed 06/17/22 Page 45 of 65 Page ID #:6132
Gibbons <lgibbons@willenken.com>; Alex Spiro <alexspiro@quinnemanuel.com>; Cory Struble
<corystruble@quinnemanuel.com>; stevenmarenberg@paulhastings.com; kiauraclark@paulhastings.com; Sarah Hsia
<sarah@rockstonelegal.com>
Subject: RE: [EXTERNAL] RE: Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS

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recognize the sender and know the content is safe.

Kenneth, thank you for your email.

Because the deadline for designating experts and providing expert reports is set by the civil trial scheduling
order (ECF No. 52), we believe that the parties should file a stipulation to extend that deadline out of an
abundance of caution. A draft stipulation and proposed order are attached.

Please let us know if you have any proposed changes or if we may proceed to file. Assuming the stipulation is
approved, we agree to extend the deadline for filing motions for summary judgment or partial summary
judgment from April 4 to April 6 (along with the other deadlines in my email below).

Dylan Bonfigli
Associate
Quinn Emanuel Urquhart & Sullivan, LLP
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From: Kenneth Trujillo-Jamison <ktrujillo-jamison@willenken.com>
Sent: Wednesday, March 9, 2022 8:09 PM
To: Dylan Bonfigli <dylanbonfigli@quinnemanuel.com>
Cc: Robert Schwartz <robertschwartz@quinnemanuel.com>; Paul Loh <ploh@willenken.com>; Lika C. Miyake
<lmiyake@willenken.com>; Kirby Hsu <khsu@willenken.com>; Julie Contreras <jcontreras@willenken.com>; Lisa
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<corystruble@quinnemanuel.com>; stevenmarenberg@paulhastings.com; kiauraclark@paulhastings.com; Sarah Hsia
<sarah@rockstonelegal.com>
Subject: Re: [EXTERNAL] RE: Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS

Dylan,

Thanks for confirming March 13th for Mr. Mannion’s deposition.

We are amenable to your proposed revisions to the expert deadlines, provided that Plaintiff agrees to extend the
deadline for filing motions for summary judgment or partial summary judgment from April 4 to April 6.

Regards,

Kenneth Trujillo-Jamison

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                                                           8
      Case 2:21-cv-04848-PA-KS Document 160 Filed 06/17/22 Page 46 of 65 Page ID #:6133
Fr o m: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >
S e nt: W e d n es d a y, M ar c h 9, 2 0 2 2 7: 0 6 A M
T o: K e n n et h Tr ujill o-J a mis o n
C c: R o b ert S c h w artz; P a ul L o h; Li k a C. Mi y a k e; Kir b y Hs u; J uli e C o ntr er as; Lis a Gi b b o ns; Al e x S pir o; C or y Str u bl e;
st e v e n m ar e n b er g @ p a ul h asti n gs. c o m ; ki a ur a cl ar k @ p a ul h asti n gs. c o m ; S ar a h Hsi a
S u bj e ct: R e: [ E X T E R N A L] R E: S h a w n C art er v. J o n at h a n M a n ni o n et al, C. D. C al., 2: 2 1- c v- 0 4 8 4 8- P A- K S

C A U TI O N : T his e m ail ori gi n at e d fr o m o utsi d e of t h e or g a niz ati o n. D o n ot cli c k li n ks or o p e n att a c h m e nts u nl ess y o u
r e c o g niz e t h e s e n d er a n d k n o w t h e c o nt e nt is s af e.

K e n n et h,

W e c o nfir m t h at w e’r e a v ail a bl e f or Mr. M a n ni o n’s o n M ar c h 1 3.

B e c a us e t h at d at e is o n e d a y b ef or e t h e d e a dli n e f or d esi g n ati n g a n d dis cl osi n g e x p erts, w e pr o p os e t h at t h e
p arti es a gr e e t o e xt e n d t h at d e a dli n e b y f o ur d a ys, fr o m M ar c h 1 4 t o M ar c h 1 8. T o t h at e n d, w e als o pr o p os e
t h at t h e p arti es a gr e e t o e xt e n d t h e d e a dli n e f or d esi g n ati n g r e b utt al e x p erts a n d s er vi n g e x p ert r e p orts fr o m
M ar c h 2 1 t o M ar c h 2 8 a n d t h e d e a dli n e f or e x p ert dis c o v er y fr o m M ar c h 2 8 t o A pril 1.

Pl e as e l et us k n o w if D ef e n d a nts ar e a m e n a bl e t o t his a p pr o a c h.

T h a n k y o u,
D yl a n


            O n M ar 8, 2 0 2 2, at 1 1: 4 3, K e n n et h Tr ujill o-J a mis o n < ktr ujill o-j a mis o n @ will e n k e n. c o m > wr ot e:


                                                     [ E X T E R N A L E M AI L fr o m ktr ujill o-j a mis o n @ will e n k e n. c o m ]


            D yl a n,

            Mr. M a n ni o n is a v ail a bl e o n M ar c h 1 3. Als o, w e c a n c o nfir m w e h a v e alr e a d y pr o d u c e d Mr. D a vi d o v’s
            r es p o nsi v e, n o n- pri vil e g e d d o c u m e nts t h at ar e r es p o nsi v e t o Pl ai ntiff’s d o c u m e nt r e q u ests, b as e d o n
            t h e a gr e e d- u p o n s e ar c h t er ms.

            R e g ar ds,

                                  K e n n et h M. Tr ujill o- J a mi s o n
                                  Dir e ct: 2 1 3. 9 5 5. 8 0 3 1 | F a x: 2 1 3. 9 5 5. 9 2 5 0 | ktr ujill o-j a mi s o n @ will e n k e n. c o m | w w w.li n k e di n. c o m/i n/ k e n n et h-tr ujill o- j a mi
                                  WI L L E N K E N L L P | 7 0 7 Wil s hir e Bl v d. | S uit e 3 8 5 0 | L o s A n g el e s, C A 9 0 0 1 7 | will e n k e n. c o m |



                                  T h e i nf or m ati o n c o nt ai n e d i n t hi s c o m m u ni c ati o n i s c o nfi d e nti al, m a y b e att or n e y- cli e nt pri vil e g e d, m a y c o n stit ut e i n si d e
                                  i nf or m ati o n, a n d i s i nt e n d e d o nl y f or t h e u s e of t h e a d dr e s s e e. It i s t h e pr o p ert y of Will e n k e n L L P. U n a ut h ori z e d u s e,
                                  di s cl o s ur e, or c o p yi n g of t hi s c o m m u ni c ati o n or a n y p art t h er e of i s stri ctl y pr o hi bit e d a n d m a y b e u nl a wf ul. If y o u h a v e
                                  r e c ei v e d t hi s c o m m u ni c ati o n i n err or, pl e a s e n otif y u s i m m e di at el y b y r et ur n e m ail a n d d e str o y t hi s c o m m u ni c ati o n a n d
                                  all c o pi e s t h er e of, i n cl u di n g al l att a c h m e nt s.



            Fr o m: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >
            S e nt: M o n d a y, M ar c h 7, 2 0 2 2 6: 4 1 P M

                                                                                                        9
Case 2:21-cv-04848-PA-KS Document 160 Filed 06/17/22 Page 47 of 65 Page ID #:6134
  To: Kenneth Trujillo-Jamison <ktrujillo-jamison@willenken.com>
  Cc: Robert Schwartz <robertschwartz@quinnemanuel.com>; Paul Loh <ploh@willenken.com>; Lika C.
  Miyake <lmiyake@willenken.com>; Kirby Hsu <khsu@willenken.com>; Julie Contreras
  <jcontreras@willenken.com>; Lisa Gibbons <lgibbons@willenken.com>; Alex Spiro
  <alexspiro@quinnemanuel.com>; Cory Struble <corystruble@quinnemanuel.com>;
  stevenmarenberg@paulhastings.com; kiauraclark@paulhastings.com; Sarah Hsia
  <sarah@rockstonelegal.com>
  Subject: RE: [EXTERNAL] RE: Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS

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  unless you recognize the sender and know the content is safe.

  Counsel, please see attached.

  Please also confirm by the close of business of Tuesday, March 8, that Defendants have
  produced Mr. Davidov’s electronic documents that are responsive to Plaintiff’s First, Second,
  and Third Sets of Requests for Production, based on the agreed-upon search terms.

  Thank you,

  Dylan Bonfigli
  Associate
  Quinn Emanuel Urquhart & Sullivan, LLP
  865 S. Figueroa Street, 10th Floor
  Los Angeles, CA 90017
  443-370-6747 Cell
  213-443-3610 Direct
  213-443-3000 Main Office Number
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  dylanbonfigli@quinnemanuel.com
  www.quinnemanuel.com




  From: Dylan Bonfigli
  Sent: Monday, March 7, 2022 12:51 PM
  To: Kenneth Trujillo-Jamison <ktrujillo-jamison@willenken.com>
  Cc: Robert Schwartz <robertschwartz@quinnemanuel.com>; Paul Loh <ploh@willenken.com>; Lika C.
  Miyake <lmiyake@willenken.com>; Kirby Hsu <khsu@willenken.com>; Julie Contreras
  <jcontreras@willenken.com>; Lisa Gibbons <lgibbons@willenken.com>; Alex Spiro
  <alexspiro@quinnemanuel.com>; Cory Struble <corystruble@quinnemanuel.com>;
  stevenmarenberg@paulhastings.com; kiauraclark@paulhastings.com; Sarah Hsia
  <sarah@rockstonelegal.com>
  Subject: RE: [EXTERNAL] RE: Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS

  Kenneth, thank you for your email. We are not available on March 16. Is Mr. Mannion
  available on March 12 or 13?

  Best,

  Dylan Bonfigli
  Associate
  Quinn Emanuel Urquhart & Sullivan, LLP
  865 S. Figueroa Street, 10th Floor
  Los Angeles, CA 90017
  443-370-6747 Cell
  213-443-3610 Direct
  213-443-3000 Main Office Number
  213-443-3100 Fax

                                                    10
Case 2:21-cv-04848-PA-KS Document 160 Filed 06/17/22 Page 48 of 65 Page ID #:6135
  d yl a n b o nfi gli @ q ui n n e m a n u el. c o m
  w w w. q ui n n e m a n u el. c o m




  Fr o m: K e n n et h Tr ujill o-J a mis o n <ktr ujill o-j a mis o n @ will e n k e n. c o m >
  S e nt: M o n d a y, M ar c h 7, 2 0 2 2 1 2: 2 2 P M
  T o: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >
  C c: R o b ert S c h w artz <r o b erts c h w artz @ q ui n n e m a n u el. c o m >; P a ul L o h < pl o h @ will e n k e n. c o m >; Li k a C.
  Mi y a k e < l mi y a k e @ will e n k e n. c o m>; Kir b y Hs u < k hs u @ will e n k e n. c o m >; J uli e C o ntr er as
  < j c o ntr er as @ will e n k e n. c o m>; Lis a Gi b b o ns < l gi b b o ns @ will e n k e n. c o m>; Al e x S pir o
  < al e xs pir o @ q ui n n e m a n u el. c o m >; C or y Str u bl e < c or ystr u bl e @ q ui n n e m a n u el. c o m >;
  st e v e n m ar e n b er g @ p a ul h asti n gs. c o m ; ki a ur a cl ar k @ p a ul h asti n gs. c o m ; S ar a h Hsi a
  < s ar a h @r o c kst o n el e g al. c o m >
  S u bj e ct: R E: [ E X T E R N A L] R E: S h a w n C art er v. J o n at h a n M a n ni o n et al, C. D. C al., 2: 2 1- c v- 0 4 8 4 8- P A- K S

                                                 [ E X T E R N A L E M AI L fr o m ktr ujill o-j a mis o n @ will e n k e n. c o m ]


  D yl a n,

  Mr. M a n ni o n is a v ail a bl e f or d e p o siti o n o n M ar c h 1 6. Pl e as e c o nfir m t h at d at e w or ks f or y o ur si d e.

  R e g ar ds,


                              K e n n et h M. Tr ujill o- J a mi s o n
                              Dir e ct: 2 1 3. 9 5 5. 8 0 3 1 | F a x: 2 1 3. 9 5 5. 9 2 5 0 | ktr ujill o-j a mi s o n @ will e n k e n. c o m | w w w.li n k e di n. c o m/i n/ k e n n et h-tr ujill o- j a mi
                              WI L L E N K E N L L P | 7 0 7 Wil s hir e Bl v d. | S uit e 3 8 5 0 | L o s A n g el e s, C A 9 0 0 1 7 | will e n k e n. c o m |



                              T h e i nf or m ati o n c o nt ai n e d i n t hi s c o m m u ni c ati o n i s c o nfi d e nti al, m a y b e att or n e y- cli e nt pri vil e g e d, m a y c o n stit ut e i n si d e
                              i nf or m ati o n, a n d i s i nt e n d e d o nl y f or t h e u s e of t h e a d dr e s s e e. It i s t h e pr o p ert y of Will e n k e n L L P. U n a ut h ori z e d u s e,
                              di s cl o s ur e, or c o p yi n g of t hi s c o m m u ni c ati o n or a n y p art t h er e of i s stri ctl y pr o hi bit e d a n d m a y b e u nl a wf ul. If y o u h a v e
                              r e c ei v e d t hi s c o m m u ni c ati o n i n err or, pl e a s e n otif y u s i m m e di at el y b y r et ur n e m ail a n d d e str o y t hi s c o m m u ni c ati o n a n d
                              all c o pi e s t h er e of, i n cl u di n g all att a c h m e nt s.



  Fr o m: K e n n et h Tr ujill o-J a mis o n <ktr ujill o-j a mis o n @ will e n k e n. c o m >
  S e nt: Fri d a y, M ar c h 4, 2 0 2 2 3: 4 6 P M
  T o: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >
  C c: R o b ert S c h w artz <r o b erts c h w artz @ q ui n n e m a n u el. c o m >; P a ul L o h < pl o h @ will e n k e n. c o m >; Li k a C.
  Mi y a k e < l mi y a k e @ will e n k e n. c o m>; Kir b y Hs u < k hs u @ will e n k e n. c o m >; J uli e C o ntr er as
  < j c o ntr er as @ will e n k e n. c o m>; Lis a Gi b b o ns < l gi b b o ns @ will e n k e n. c o m>; Al e x S pir o
  < al e xs pir o @ q ui n n e m a n u el. c o m >; C or y Str u bl e < c or ystr u bl e @ q ui n n e m a n u el. c o m >;
  st e v e n m ar e n b er g @ p a ul h asti n gs. c o m ; ki a ur a cl ar k @ p a ul h asti n gs. c o m ; S ar a h Hsi a
  < s ar a h @r o c kst o n el e g al. c o m >
  S u bj e ct: R e: [ E X T E R N A L] R E: S h a w n C art er v. J o n at h a n M a n ni o n et al, C. D. C al., 2: 2 1- c v- 0 4 8 4 8- P A- K S

  D yl a n,

  M ar c h 1 0 at 7 a m P T w or ks f or Mr. D a vi d o v.

  R e g ar ds,


                                                                                                   11
Case 2:21-cv-04848-PA-KS Document 160 Filed 06/17/22 Page 49 of 65 Page ID #:6136

                            K e n n et h M. Tr ujill o- J a mi s o n
                            Dir e ct: 2 1 3. 9 5 5. 8 0 3 1 | F a x: 2 1 3. 9 5 5. 9 2 5 0 | ktr ujill o-j a mi s o n @ will e n k e n. c o m | w w w.li n k e di n. c o m/i n/ k e n n et h-tr ujill o- j a mi
                            WI L L E N K E N L L P | 7 0 7 Wil s hir e Bl v d. | S uit e 3 8 5 0 | L o s A n g el e s, C A 9 0 0 1 7 | will e n k e n. c o m |



                            T h e i nf or m ati o n c o nt ai n e d i n t hi s c o m m u ni c ati o n i s c o nfi d e nti al, m a y b e att or n e y- cli e nt pri vil e g e d, m a y c o n stit ut e
                            i n si d e i nf or m ati o n, a n d i s i nt e n d e d o nl y f or t h e u s e of t h e a d dr e s s e e. It i s t h e pr o p ert y of Will e n k e n L L P.
                            U n a ut h ori z e d u s e, di s cl o s ur e, or c o p yi n g of t hi s c o m m u ni c ati o n or a n y p art t h er e of i s stri ctl y pr o hi bit e d a n d m a y
                            b e u nl a wf ul. If y o u h a v e r e c ei v e d t hi s c o m m u ni c ati o n i n err or, pl e a s e n otif y u s i m m e di at el y b y r et ur n e m ail a n d
                            d e str o y t hi s c o m m u ni c ati o n a n d all c o pi e s t h er e of, i n cl u di n g all att a c h m e nt s.


  Fr o m: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >
  S e nt: Fri d a y, M ar c h 4, 2 0 2 2 1: 4 4 P M
  T o: K e n n et h Tr ujill o-J a mis o n <ktr ujill o-j a mis o n @ will e n k e n. c o m >
  C c: R o b ert S c h w artz <r o b erts c h w artz @ q ui n n e m a n u el. c o m >; P a ul L o h < pl o h @ will e n k e n. c o m >; Li k a C.
  Mi y a k e < l mi y a k e @ will e n k e n. c o m>; Kir b y Hs u < k hs u @ will e n k e n. c o m >; J uli e C o ntr er as
  < j c o ntr er as @ will e n k e n. c o m>; Lis a Gi b b o ns < l gi b b o ns @ will e n k e n. c o m>; Al e x S pir o
  < al e xs pir o @ q ui n n e m a n u el. c o m >; C or y Str u bl e < c or ystr u bl e @ q ui n n e m a n u el. c o m >;
  st e v e n m ar e n b er g @ p a ul h asti n gs. c o m <st e v e n m ar e n b er g @ p a ul h asti n gs. c o m >;
  ki a ur a cl ar k @ p a ul h asti n gs. c o m <ki a ur a cl ar k @ p a ul h asti n gs. c o m >; S ar a h Hsi a
  < s ar a h @r o c kst o n el e g al. c o m >
  S u bj e ct: R E: [ E X T E R N A L] R E: S h a w n C art er v. J o n at h a n M a n ni o n et al, C. D. C al., 2: 2 1- c v- 0 4 8 4 8- P A- K S

  C A U TI O N : T his e m ail ori gi n at e d fr o m o utsi d e of t h e or g a niz ati o n. D o n ot cli c k li n ks or o p e n att a c h m e nts
  u nl ess y o u r e c o g niz e t h e s e n d er a n d k n o w t h e c o nt e nt is s af e.

  K e n n et h, w e’r e a v ail a bl e f or Mr. D a vi d o v’s d e p ositi o n o n M ar c h 1 0 at 7 a m P T. Pl e as e c o nfir m
  t h at ti m e still w or ks f or Mr. D a vi d o v, a n d if s o, w e c a n r el e as e t h e M ar c h 7 d at e.

  T h a n k y o u,

  D yl a n B o n fi gli
  A s s o ci at e
  Q ui n n E m a n u el U r q u h a rt & S ulli v a n, L L P
  8 6 5 S. Fi g u e r o a S t r e et, 1 0t h Fl o o r
  L o s A n g el e s, C A 9 0 0 1 7
  4 4 3 - 3 7 0 - 6 7 4 7 C ell
  2 1 3 - 4 4 3 - 3 6 1 0 Di r e ct
  2 1 3 - 4 4 3 - 3 0 0 0 M ai n Offi c e N u m b e r
  2 1 3- 4 4 3- 3 1 0 0 F a x
  d yl a n b o nfi gli @ q ui n n e m a n u el. c o m
  w w w. q ui n n e m a n u el. c o m




  Fr o m: D yl a n B o nfi gli
  S e nt: Fri d a y, M ar c h 4, 2 0 2 2 6: 4 0 A M
  T o: K e n n et h Tr ujill o-J a mis o n <ktr ujill o-j a mis o n @ will e n k e n. c o m >
  C c: R o b ert S c h w artz <r o b erts c h w artz @ q ui n n e m a n u el. c o m >; P a ul L o h < pl o h @ will e n k e n. c o m >; Li k a C.
  Mi y a k e < l mi y a k e @ will e n k e n. c o m>; Kir b y Hs u < k hs u @ will e n k e n. c o m >; J uli e C o ntr er as
  < j c o ntr er as @ will e n k e n. c o m>; Lis a Gi b b o ns < l gi b b o ns @ will e n k e n. c o m>; Al e x S pir o
  < al e xs pir o @ q ui n n e m a n u el. c o m >; C or y Str u bl e < c or ystr u bl e @ q ui n n e m a n u el. c o m >;
  st e v e n m ar e n b er g @ p a ul h asti n gs. c o m ; ki a ur a cl ar k @ p a ul h asti n gs. c o m ; S ar a h Hsi a
  < s ar a h @r o c kst o n el e g al. c o m >
  S u bj e ct: R E: [ E X T E R N A L] R E: S h a w n C art er v. J o n at h a n M a n ni o n et al, C. D. C al., 2: 2 1- c v- 0 4 8 4 8- P A- K S

  K e n n et h,

                                                                                                12
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  We will continue Mr. Burke’s deposition at 9 am PT on Monday, March 7.

  Relatedly, please let us know of Mr. Davidov’s availability on the alternative dates we proposed
  before the close of business today.

  Thank you,

  Dylan Bonfigli
  Associate
  Quinn Emanuel Urquhart & Sullivan, LLP
  865 S. Figueroa Street, 10th Floor
  Los Angeles, CA 90017
  443-370-6747 Cell
  213-443-3610 Direct
  213-443-3000 Main Office Number
  213-443-3100 Fax
  dylanbonfigli@quinnemanuel.com
  www.quinnemanuel.com




  From: Robert Schwartz <robertschwartz@quinnemanuel.com>
  Sent: Thursday, March 3, 2022 6:19 PM
  To: Kenneth Trujillo-Jamison <ktrujillo-jamison@willenken.com>
  Cc: Paul Loh <ploh@willenken.com>; Lika C. Miyake <lmiyake@willenken.com>; Kirby Hsu
  <khsu@willenken.com>; Julie Contreras <jcontreras@willenken.com>; Lisa Gibbons
  <lgibbons@willenken.com>; Alex Spiro <alexspiro@quinnemanuel.com>; Cory Struble
  <corystruble@quinnemanuel.com>; Dylan Bonfigli <dylanbonfigli@quinnemanuel.com>;
  stevenmarenberg@paulhastings.com; kiauraclark@paulhastings.com; Sarah Hsia
  <sarah@rockstonelegal.com>
  Subject: RE: [EXTERNAL] RE: Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS

  Kenneth,

  I’m addressing first the issue of my jury service and the deposition of your client,
  which was scheduled for today (Thursday).

  My jury service appearance date was this Monday. Based on years of experience, I
  believed that I would be done on that day or the next. In fact, on Sunday night, I
  checked the website and was told there was no need to come in on Monday. On
  Monday night, the website said the same thing about Tuesday. On Tuesday night, I
  was told to report on Wednesday. When I did, I told the judge that I had a
  deposition on Thursday and requested a deferral of my jury service to a later
  day. These are routinely granted. The judge declined my request.

  We promptly relayed this situation to you yesterday afternoon, right after I
  returned from court. You and I discussed by phone the possibility of proceeding
  with Mr. Mannion’s deposition on Friday or even Saturday. I told you that I would
  keep you informed.

  At the end of the proceeding today, I was empaneled as a juror. The judge said that
  the opening statements would not begin until Monday. Given that, we quickly told
  you that I could proceed with Mr. Mannion’s deposition tomorrow.

                                                    13
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  You’ve responded by saying that Mr. Mannion is no longer available tomorrow and
  that you will provide alternative dates. That’s his and your decision. But in the
  meantime, let’s maintain a professional approach to dealing with these issues.

  As to your question about Mr. Burke’s deposition, Dylan’s email from Wednesday
  states, “We intend to continue Mr. Burke’s deposition on March 7; we’ll reach out to
  Mr. Burke’s counsel to confirm a start time and will revert back once we have
  one.” We’re working on firming up a start time with Mr. Burke’s counsel.

  As to your question about Mr. Davidov’s deposition, Dylan’s email from Wednesday
  states, “To avoid double-booking, we propose moving Mr. Davidov’s deposition to
  March 10, 11, or 15, and we are able to start the deposition at 7 am PT on those
  dates. Please let us know if any of those dates work for Mr. Davidov.” Again,
  please let us know if any of those alternative dates work for Mr. Davidov, so we can
  decide whether to release the March 7 date.

  Bobby

  From: Kenneth Trujillo-Jamison <ktrujillo-jamison@willenken.com>
  Sent: Thursday, March 3, 2022 5:36 PM
  To: Dylan Bonfigli <dylanbonfigli@quinnemanuel.com>
  Cc: Paul Loh <ploh@willenken.com>; Lika C. Miyake <lmiyake@willenken.com>; Kirby Hsu
  <khsu@willenken.com>; Robert Schwartz <robertschwartz@quinnemanuel.com>; Julie Contreras
  <jcontreras@willenken.com>; Lisa Gibbons <lgibbons@willenken.com>; Alex Spiro
  <alexspiro@quinnemanuel.com>; Cory Struble <corystruble@quinnemanuel.com>;
  stevenmarenberg@paulhastings.com; kiauraclark@paulhastings.com; Sarah Hsia
  <sarah@rockstonelegal.com>
  Subject: RE: [EXTERNAL] RE: Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS


                           [EXTERNAL EMAIL from ktrujillo-jamison@willenken.com]




  Dylan,

  Mr. Mannion is no longer available tomorrow. You told us at 8:22 pm ET last night that you needed to
  adjourn his deposition today because Bobby had jury duty this week, which he surely had known about
  for weeks if not months. You also told us yesterday that you could not take Ms. Matute’s deposition
  tomorrow. But after nearly an entire day, you told us at 6:47 pm ET this evening that you are now
  prepared to go forward with Mr. Mannion’s deposition tomorrow. We and Mr. Mannion cannot
  accommodate yet another last-minute request. We will get back to you with an alternate date that is
  convenient for Mr. Mannion.

  Separately, we are still waiting for your confirmation whether, and at what time, you intend to resume
  Kareem Burke’s deposition on March 7. Please do so as soon as possible so that my team can set their
  schedule accordingly.

  Relatedly, please let us know as soon as possible if Mr. Davidov is formally released from the March 7
  date. He has to take off from work to appear for deposition. We want to be respectful of Mr. Davidov’s
  time and allow him to re-arrange his schedule if necessary.
                                                     14
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  T h a n ks,



                            K e n n et h M. Tr ujill o- J a mi s o n
                            Dir e ct: 2 1 3. 9 5 5. 8 0 3 1 | F a x: 2 1 3. 9 5 5. 9 2 5 0 | ktr ujill o-j a mi s o n @ will e n k e n. c o m | w w w.li n k e di n. c o m/i n/ k e n n et h-tr ujill o- j a mi
                            WI L L E N K E N L L P | 7 0 7 Wil s hir e Bl v d. | S uit e 3 8 5 0 | L o s A n g el e s, C A 9 0 0 1 7 | will e n k e n. c o m |



                            T h e i nf or m ati o n c o nt ai n e d i n t hi s c o m m u ni c ati o n i s c o nfi d e nti al, m a y b e att or n e y- cli e nt pri vil e g e d, m a y c o n stit ut e i n si d e
                            i nf or m ati o n, a n d i s i nt e n d e d o nl y f or t h e u s e of t h e a d dr e s s e e. It i s t h e pr o p ert y of Will e n k e n L L P. U n a ut h ori z e d u s e,
                            di s cl o s ur e, or c o p yi n g of t hi s c o m m u ni c ati o n or a n y p art t h er e of i s stri ctl y pr o hi bit e d a n d m a y b e u nl a wf ul. If y o u h a v e
                            r e c ei v e d t hi s c o m m u ni c ati o n i n err or, pl e a s e n otif y u s i m m e di at el y b y r et ur n e m ail a n d d e str o y t hi s c o m m u ni c ati o n a n d
                            all c o pi e s t h er e of, i n cl u di n g all att a c h m e nt s.



  Fr o m: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >
  S e nt: T h urs d a y, M ar c h 3, 2 0 2 2 3: 4 7 P M
  T o: K e n n et h Tr ujill o-J a mis o n <ktr ujill o-j a mis o n @ will e n k e n. c o m >
  C c: P a ul L o h <pl o h @ will e n k e n. c o m >; Li k a C. Mi y a k e < l mi y a k e @ will e n k e n. c o m>; Kir b y Hs u
  < k hs u @ will e n k e n. c o m >; R o b ert S c h w artz < r o b erts c h w artz @ q ui n n e m a n u el. c o m>; J uli e C o ntr er as
  < j c o ntr er as @ will e n k e n. c o m>; Lis a Gi b b o ns < l gi b b o ns @ will e n k e n. c o m>; Al e x S pir o
  < al e xs pir o @ q ui n n e m a n u el. c o m >; C or y Str u bl e < c or ystr u bl e @ q ui n n e m a n u el. c o m >;
  st e v e n m ar e n b er g @ p a ul h asti n gs. c o m ; ki a ur a cl ar k @ p a ul h asti n gs. c o m ; S ar a h Hsi a
  < s ar a h @r o c kst o n el e g al. c o m >
  S u bj e ct: R E: [ E X T E R N A L] R E: S h a w n C art er v. J o n at h a n M a n ni o n et al, C. D. C al., 2: 2 1- c v- 0 4 8 4 8- P A- K S

  C A U TI O N : T his e m ail ori gi n at e d fr o m o utsi d e of t h e or g a niz ati o n. D o n ot cli c k li n ks or o p e n att a c h m e nts
  u nl ess y o u r e c o g niz e t h e s e n d er a n d k n o w t h e c o nt e nt is s af e.

  K e n n et h, w e ar e pr e p ar e d t o pr o c e e d wit h Mr. M a n ni o n’s d e p ositi o n t o m orr o w at 8 a m
  P T. Pl e as e c o nfir m t h at t his w or ks f or y o ur t e a m.

  T h a n k y o u,
  D yl a n B o n fi gli
  A s s o ci at e
  Q ui n n E m a n u el U r q u h a rt & S ulli v a n, L L P
  8 6 5 S. Fi g u e r o a S t r e et, 1 0t h Fl o o r
  L o s A n g el e s, C A 9 0 0 1 7
  4 4 3 - 3 7 0 - 6 7 4 7 C ell
  2 1 3 - 4 4 3 - 3 6 1 0 Di r e ct
  2 1 3 - 4 4 3 - 3 0 0 0 M ai n Offi c e N u m b e r
  2 1 3- 4 4 3- 3 1 0 0 F a x
  d yl a n b o nfi gli @ q ui n n e m a n u el. c o m
  w w w. q ui n n e m a n u el. c o m




  Fr o m: D yl a n B o nfi gli
  S e nt: T h urs d a y, M ar c h 3, 2 0 2 2 1 0: 0 1 A M
  T o: ' K e n n et h Tr ujill o-J a mis o n' <ktr ujill o-j a mis o n @ will e n k e n. c o m >
  C c: P a ul L o h <pl o h @ will e n k e n. c o m >; Li k a C. Mi y a k e < l mi y a k e @ will e n k e n. c o m>; Kir b y Hs u
  < k hs u @ will e n k e n. c o m >; R o b ert S c h w artz < r o b erts c h w artz @ q ui n n e m a n u el. c o m>; J uli e C o ntr er as
  < j c o ntr er as @ will e n k e n. c o m>; Lis a Gi b b o ns < l gi b b o ns @ will e n k e n. c o m>; Al e x S pir o
  < al e xs pir o @ q ui n n e m a n u el. c o m >; C or y Str u bl e < c or ystr u bl e @ q ui n n e m a n u el. c o m >;
  st e v e n m ar e n b er g @ p a ul h asti n gs. c o m ; ki a ur a cl ar k @ p a ul h asti n gs. c o m ; S ar a h Hsi a

                                                                                                 15
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  < s ar a h @r o c kst o n el e g al. c o m >
  S u bj e ct: R E: [ E X T E R N A L] R E: S h a w n C art er v. J o n at h a n M a n ni o n et al, C. D. C al., 2: 2 1- c v- 0 4 8 4 8- P A- K S

  T h a n k y o u, K e n n et h

  D yl a n B o n fi gli
  A s s o ci at e
  Q ui n n E m a n u el U r q u h a rt & S ulli v a n, L L P
  8 6 5 S. Fi g u e r o a S t r e et, 1 0t h Fl o o r
  L o s A n g el e s, C A 9 0 0 1 7
  4 4 3 - 3 7 0 - 6 7 4 7 C ell
  2 1 3 - 4 4 3 - 3 6 1 0 Di r e ct
  2 1 3 - 4 4 3 - 3 0 0 0 M ai n Offi c e N u m b e r
  2 1 3- 4 4 3- 3 1 0 0 F a x
  d yl a n b o nfi gli @ q ui n n e m a n u el. c o m
  w w w. q ui n n e m a n u el. c o m




  Fr o m: K e n n et h Tr ujill o-J a mis o n <ktr ujill o-j a mis o n @ will e n k e n. c o m >
  S e nt: T h urs d a y, M ar c h 3, 2 0 2 2 1 0: 0 0 A M
  T o: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >
  C c: P a ul L o h <pl o h @ will e n k e n. c o m >; Li k a C. Mi y a k e < l mi y a k e @ will e n k e n. c o m>; Kir b y Hs u
  < k hs u @ will e n k e n. c o m >; R o b ert S c h w artz < r o b erts c h w artz @ q ui n n e m a n u el. c o m>; J uli e C o ntr er as
  < j c o ntr er as @ will e n k e n. c o m>; Lis a Gi b b o ns < l gi b b o ns @ will e n k e n. c o m>; Al e x S pir o
  < al e xs pir o @ q ui n n e m a n u el. c o m >; C or y Str u bl e < c or ystr u bl e @ q ui n n e m a n u el. c o m >;
  st e v e n m ar e n b er g @ p a ul h asti n gs. c o m ; ki a ur a cl ar k @ p a ul h asti n gs. c o m ; S ar a h Hsi a
  < s ar a h @r o c kst o n el e g al. c o m >
  S u bj e ct: R E: [ E X T E R N A L] R E: S h a w n C art er v. J o n at h a n M a n ni o n et al, C. D. C al., 2: 2 1- c v- 0 4 8 4 8- P A- K S


                                               [ E X T E R N A L E M AI L fr o m ktr ujill o-j a mis o n @ will e n k e n. c o m ]




  D yl a n,

  W e c a n a c c o m m o d at e t h at st art ti m e f or Mr. C art er’ s d e p ositi o n. W e will r e v ert i n a s e p ar at e e m ail o n
  t h e r e m ai ni n g o utst a n di n g it e ms.

  R e g ar ds,

                            K e n n et h M. Tr ujill o- J a mi s o n
                            Dir e ct: 2 1 3. 9 5 5. 8 0 3 1 | F a x: 2 1 3. 9 5 5. 9 2 5 0 | ktr ujill o-j a mi s o n @ will e n k e n. c o m | w w w.li n k e di n. c o m/i n/ k e n n et h-tr ujill o- j a mi
                            WI L L E N K E N L L P | 7 0 7 Wil s hir e Bl v d. | S uit e 3 8 5 0 | L o s A n g el e s, C A 9 0 0 1 7 | will e n k e n. c o m |



                            T h e i nf or m ati o n c o nt ai n e d i n t hi s c o m m u ni c ati o n i s c o nfi d e nti al, m a y b e att or n e y- cli e nt pri vil e g e d, m a y c o n stit ut e i n si d e
                            i nf or m ati o n, a n d i s i nt e n d e d o nl y f or t h e u s e of t h e a d dr e s s e e. It i s t h e pr o p ert y of Will e n k e n L L P. U n a ut h ori z e d u s e,
                            di s cl o s ur e, or c o p yi n g of t hi s c o m m u ni c ati o n or a n y p art t h er e of i s stri ctl y pr o hi bit e d a n d m a y b e u nl a wf ul. If y o u h a v e
                            r e c ei v e d t hi s c o m m u ni c ati o n i n err or, pl e a s e n otif y u s i m m e di at el y b y r et ur n e m ail a n d d e str o y t hi s c o m m u ni c ati o n a n d
                            all c o pi e s t h er e of, i n cl u di n g all att a c h m e nt s.



  Fr o m: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >
  S e nt: T h urs d a y, M ar c h 3, 2 0 2 2 9: 3 4 A M
  T o: K e n n et h Tr ujill o-J a mis o n <ktr ujill o-j a mis o n @ will e n k e n. c o m >
  C c: P a ul L o h <pl o h @ will e n k e n. c o m >; Li k a C. Mi y a k e < l mi y a k e @ will e n k e n. c o m>; Kir b y Hs u
                                                                                                 16
Case 2:21-cv-04848-PA-KS Document 160 Filed 06/17/22 Page 54 of 65 Page ID #:6141
  <khsu@willenken.com>; Robert Schwartz <robertschwartz@quinnemanuel.com>; Julie Contreras
  <jcontreras@willenken.com>; Lisa Gibbons <lgibbons@willenken.com>; Alex Spiro
  <alexspiro@quinnemanuel.com>; Cory Struble <corystruble@quinnemanuel.com>;
  stevenmarenberg@paulhastings.com; kiauraclark@paulhastings.com; Sarah Hsia
  <sarah@rockstonelegal.com>
  Subject: RE: [EXTERNAL] RE: Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS

  CAUTION: This email originated from outside of the organization. Do not click links or open attachments
  unless you recognize the sender and know the content is safe.

  Kenneth, we would like to proceed with Mr. Carter’s deposition tomorrow at 10 am ET.

  Please confirm that this works for your side.

  Thank you,

  Dylan Bonfigli
  Associate
  Quinn Emanuel Urquhart & Sullivan, LLP
  865 S. Figueroa Street, 10th Floor
  Los Angeles, CA 90017
  443-370-6747 Cell
  213-443-3610 Direct
  213-443-3000 Main Office Number
  213-443-3100 Fax
  dylanbonfigli@quinnemanuel.com
  www.quinnemanuel.com




  From: Dylan Bonfigli
  Sent: Wednesday, March 2, 2022 7:02 PM
  To: Kenneth Trujillo-Jamison <ktrujillo-jamison@willenken.com>
  Cc: Paul Loh <ploh@willenken.com>; Lika C. Miyake <lmiyake@willenken.com>; Kirby Hsu
  <khsu@willenken.com>; Robert Schwartz <robertschwartz@quinnemanuel.com>; Julie Contreras
  <jcontreras@willenken.com>; Lisa Gibbons <lgibbons@willenken.com>; Alex Spiro
  <alexspiro@quinnemanuel.com>; Cory Struble <corystruble@quinnemanuel.com>;
  stevenmarenberg@paulhastings.com; kiauraclark@paulhastings.com; Sarah Hsia
  <sarah@rockstonelegal.com>
  Subject: RE: [EXTERNAL] RE: Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS

  Kenneth,

  We’re not able to change the date for the Matute deposition. We’ll proceed with her deposition
  on March 5 at 7 am PT, as agreed.

  We’ll keep you posted on the other fronts.

  We do not agree that defendants are entitled to reimbursement of expenses.

  Thank you,

  Dylan Bonfigli
  Associate
  Quinn Emanuel Urquhart & Sullivan, LLP
  865 S. Figueroa Street, 10th Floor
  Los Angeles, CA 90017
  443-370-6747 Cell

                                                    17
Case 2:21-cv-04848-PA-KS Document 160 Filed 06/17/22 Page 55 of 65 Page ID #:6142
  2 1 3 - 4 4 3 - 3 6 1 0 Di r e ct
  2 1 3 - 4 4 3 - 3 0 0 0 M ai n Offi c e N u m b e r
  2 1 3- 4 4 3- 3 1 0 0 F a x
  d yl a n b o nfi gli @ q ui n n e m a n u el. c o m
  w w w. q ui n n e m a n u el. c o m




  Fr o m: K e n n et h Tr ujill o-J a mis o n <ktr ujill o-j a mis o n @ will e n k e n. c o m >
  S e nt: W e d n es d a y, M ar c h 2, 2 0 2 2 6: 2 6 P M
  T o: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >; R o b ert S c h w artz
  < r o b erts c h w artz @ q ui n n e m a n u el. c o m>
  C c: P a ul L o h <pl o h @ will e n k e n. c o m >; Li k a C. Mi y a k e < l mi y a k e @ will e n k e n. c o m>; Kir b y Hs u
  < k hs u @ will e n k e n. c o m >; J uli e C o ntr er as < j c o ntr er as @ will e n k e n. c o m>; Lis a Gi b b o ns
  < l gi b b o ns @ will e n k e n. c o m>; Al e x S pir o < al e xs pir o @ q ui n n e m a n u el. c o m >; C or y Str u bl e
  < c or ystr u bl e @ q ui n n e m a n u el. c o m >; st e v e n m ar e n b er g @ p a ul h asti n gs. c o m ;
  ki a ur a cl ar k @ p a ul h asti n gs. c o m ; S ar a h Hsi a <s ar a h @r o c kst o n el e g al. c o m >
  S u bj e ct: R E: [ E X T E R N A L] R E: S h a w n C art er v. J o n at h a n M a n ni o n et al, C. D. C al., 2: 2 1- c v- 0 4 8 4 8- P A- K S


                                                [ E X T E R N A L E M AI L fr o m ktr ujill o-j a mis o n @ will e n k e n. c o m ]




  B o b b y a n d D yl a n,

  T h a n ks f or t h e c all t his e v e ni n g. W hil e w e u n d erst a n d t h at B o b b y h as t o s er v e his j ur y d ut y, t his
  sit u ati o n w as wit hi n y o ur c o ntr ol gi v e n t h at d ef e n d a nts’ d e p ositi o ns w er e s c h e d ul e d w e e ks i n a d v a n c e.

  Pl e a s e a d vis e w h et h er y o u all c a n t a k e Ms. M at ut e’s d e p ositi o n t o m orr o w, t o st art at 1 p m E ast er n/ 1 0
  a m P a cifi c. Pl e as e als o a d vis e if y o u all c a n t a k e Mr. M a n ni o n’s d e p ositi o n o n Fri d a y. (I misst at e d his
  a v ail a bilit y o n t h e c all. H e is n ot a v ail a bl e o n S at ur d a y. H e is a v ail a bl e o n Fri d a y, b ut is l e a vi n g Fri d a y
  e v e ni n g f or a n i nt er n ati o n al tri p.) If y o ur si d e c a n n ot t a k e Mr. M a n ni o n’s d e p o siti o n o n Fri d a y, w e will
  b e s e e ki n g r ei m b urs e m e nt f or t h e c osts w e h a v e i n c urr e d i n tr a v el a n d a c c o m m o d ati o ns f or his
  d e p o siti o n. I n r eli a n c e u p o n t h e s c h e d ul e t h e p arti es a gr e e d t o, m y c oll e a g u e P a ul L o h tr a v ell e d t o N e w
  Y or k t o d ef e n d Mr. M a n ni o n’s d e p ositi o n, a n d is t h er e n o w.

  I n a n y e v e nt, D ef e n d a nts will b e t a ki n g Pl ai ntiff’s d e p ositi o n o n Fri d a y.

  R e g ar ds,



                             K e n n et h M. Tr ujill o- J a mi s o n
                             Dir e ct: 2 1 3. 9 5 5. 8 0 3 1 | F a x: 2 1 3. 9 5 5. 9 2 5 0 | ktr ujill o-j a mi s o n @ will e n k e n. c o m | w w w.li n k e di n. c o m/i n/ k e n n et h-tr ujill o- j a mi
                             WI L L E N K E N L L P | 7 0 7 Wil s hir e Bl v d. | S uit e 3 8 5 0 | L o s A n g el e s, C A 9 0 0 1 7 | will e n k e n. c o m |



                             T h e i nf or m ati o n c o nt ai n e d i n t hi s c o m m u ni c ati o n i s c o nfi d e nti al, m a y b e att or n e y- cli e nt pri vil e g e d, m a y c o n stit ut e i n si d e
                             i nf or m ati o n, a n d i s i nt e n d e d o nl y f or t h e u s e of t h e a d dr e s s e e. It i s t h e pr o p ert y of Will e n k e n L L P. U n a ut h ori z e d u s e,
                             di s cl o s ur e, or c o p yi n g of t hi s c o m m u ni c ati o n or a n y p art t h er e of i s stri ctl y pr o hi bit e d a n d m a y b e u nl a wf ul. If y o u h a v e
                             r e c ei v e d t hi s c o m m u ni c ati o n i n err or, pl e a s e n otif y u s i m m e di at el y b y r et ur n e m ail a n d d e str o y t hi s c o m m u ni c ati o n a n d
                             all c o pi e s t h er e of, i n cl u di n g a ll att a c h m e nt s.



  Fr o m: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >
  S e nt: W e d n es d a y, M ar c h 2, 2 0 2 2 5: 2 2 P M
                                                                                                  18
Case 2:21-cv-04848-PA-KS Document 160 Filed 06/17/22 Page 56 of 65 Page ID #:6143
  To: Kenneth Trujillo-Jamison <ktrujillo-jamison@willenken.com>
  Cc: Paul Loh <ploh@willenken.com>; Lika C. Miyake <lmiyake@willenken.com>; Kirby Hsu
  <khsu@willenken.com>; Julie Contreras <jcontreras@willenken.com>; Lisa Gibbons
  <lgibbons@willenken.com>; Robert Schwartz <robertschwartz@quinnemanuel.com>; Alex Spiro
  <alexspiro@quinnemanuel.com>; Cory Struble <corystruble@quinnemanuel.com>;
  stevenmarenberg@paulhastings.com; kiauraclark@paulhastings.com; Sarah Hsia
  <sarah@rockstonelegal.com>
  Subject: RE: [EXTERNAL] RE: Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS

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  unless you recognize the sender and know the content is safe.

  Kenneth,

  Due to an emergency that arose this afternoon, we need to adjourn Mr. Mannion’s
  deposition. Please let us know some alternative dates that Mr. Mannion will be available.

  Thank you,

  Dylan Bonfigli
  Associate
  Quinn Emanuel Urquhart & Sullivan, LLP
  865 S. Figueroa Street, 10th Floor
  Los Angeles, CA 90017
  443-370-6747 Cell
  213-443-3610 Direct
  213-443-3000 Main Office Number
  213-443-3100 Fax
  dylanbonfigli@quinnemanuel.com
  www.quinnemanuel.com




  From: Dylan Bonfigli <dylanbonfigli@quinnemanuel.com>
  Sent: Wednesday, March 2, 2022 3:54 PM
  To: Kenneth Trujillo-Jamison <ktrujillo-jamison@willenken.com>
  Cc: Paul Loh <ploh@willenken.com>; Lika C. Miyake <lmiyake@willenken.com>; Kirby Hsu
  <khsu@willenken.com>; Julie Contreras <jcontreras@willenken.com>; Lisa Gibbons
  <lgibbons@willenken.com>; Robert Schwartz <robertschwartz@quinnemanuel.com>; Alex Spiro
  <alexspiro@quinnemanuel.com>; Cory Struble <corystruble@quinnemanuel.com>;
  stevenmarenberg@paulhastings.com; kiauraclark@paulhastings.com; Sarah Hsia
  <sarah@rockstonelegal.com>
  Subject: RE: [EXTERNAL] RE: Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS

  Kenneth,

  Thank you for your email. We intend to continue Mr. Burke’s deposition on March 7; we’ll
  reach out to Mr. Burke’s counsel to confirm a start time and will revert back once we have
  one. To avoid double-booking, we propose moving Mr. Davidov’s deposition to March 10, 11,
  or 15, and we are able to start the deposition at 7 am PT on those dates. Please let us know if any
  of those dates work for Mr. Davidov.

  Also, please let us know if it is possible to start Ms. Perez’s deposition on March 14 at 7 am PT
  to accommodate the fact that she is based on the East Coast.

  Thank you,
                                                    19
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  D yl a n B o n fi gli
  A s s o ci at e
  Q ui n n E m a n u el U r q u h a rt & S ulli v a n, L L P
  8 6 5 S. Fi g u e r o a S t r e et, 1 0t h Fl o o r
  L o s A n g el e s, C A 9 0 0 1 7
  4 4 3 - 3 7 0 - 6 7 4 7 C ell
  2 1 3 - 4 4 3 - 3 6 1 0 Di r e ct
  2 1 3 - 4 4 3 - 3 0 0 0 M ai n Offi c e N u m b e r
  2 1 3- 4 4 3- 3 1 0 0 F a x
  d yl a n b o nfi gli @ q ui n n e m a n u el. c o m
  w w w. q ui n n e m a n u el. c o m




  Fr o m: K e n n et h Tr ujill o-J a mis o n <ktr ujill o-j a mis o n @ will e n k e n. c o m >
  S e nt: W e d n es d a y, M ar c h 2, 2 0 2 2 8: 4 6 A M
  T o: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >
  C c: P a ul L o h <pl o h @ will e n k e n. c o m >; Li k a C. Mi y a k e < l mi y a k e @ will e n k e n. c o m>; Kir b y Hs u
  < k hs u @ will e n k e n. c o m >; J uli e C o ntr er as < j c o ntr er as @ will e n k e n. c o m>; Lis a Gi b b o ns
  < l gi b b o ns @ will e n k e n. c o m>; R o b ert S c h w artz < r o b erts c h w artz @ q ui n n e m a n u el. c o m>; Al e x S pir o
  < al e xs pir o @ q ui n n e m a n u el. c o m >; C or y Str u bl e < c or ystr u bl e @ q ui n n e m a n u el. c o m >;
  st e v e n m ar e n b er g @ p a ul h asti n gs. c o m ; ki a ur a cl ar k @ p a ul h asti n gs. c o m ; S ar a h Hsi a
  < s ar a h @r o c kst o n el e g al. c o m >
  S u bj e ct: R E: [ E X T E R N A L] R E: S h a w n C art er v. J o n at h a n M a n ni o n et al, C. D. C al., 2: 2 1- c v- 0 4 8 4 8- P A- K S


                                               [ E X T E R N A L E M AI L fr o m ktr ujill o-j a mis o n @ will e n k e n. c o m ]




  D yl a n,

  T h a n ks f or y o ur e m ail. Ms. M at ut e pr ef ers M ar c h 5. T h a n ks f or a c c o m m o d ati n g t h e st art ti m es f or h er,
  Mr. D a vi d o v’s, a n d Mr. M a n ni o n’s d e p ositi o ns. W e ar e a gr e e a bl e t o t h e ti m es y o u’ v e o utli n e d. W e will
  a w ait w or d fr o m y o ur si d e o n Mr. B ur k e’s d e p ositi o n.

  R e g ar ds,



                            K e n n et h M. Tr ujill o- J a mi s o n
                            Dir e ct: 2 1 3. 9 5 5. 8 0 3 1 | F a x: 2 1 3. 9 5 5. 9 2 5 0 | ktr ujill o-j a mi s o n @ will e n k e n. c o m | w w w.li n k e di n. c o m/i n/ k e n n et h-tr ujill o- j a mi
                            WI L L E N K E N L L P | 7 0 7 Wil s hir e Bl v d. | S uit e 3 8 5 0 | L o s A n g el e s, C A 9 0 0 1 7 | will e n k e n. c o m |



                            T h e i nf or m ati o n c o nt ai n e d i n t hi s c o m m u ni c ati o n i s c o nfi d e nti al, m a y b e att or n e y- cli e nt pri vil e g e d, m a y c o n stit ut e i n si d e
                            i nf or m ati o n, a n d i s i nt e n d e d o nl y f or t h e u s e of t h e a d dr e s s e e. It i s t h e pr o p ert y of Will e n k e n L L P. U n a ut h ori z e d u s e,
                            di s cl o s ur e, or c o p yi n g of t hi s c o m m u ni c ati o n or a n y p art t h er e of i s stri ctl y pr o hi bit e d a n d m a y b e u nl a wf ul. If y o u h a v e
                            r e c ei v e d t hi s c o m m u ni c ati o n i n err or, pl e a s e n otif y u s i m m e di at el y b y r et ur n e m ail a n d d e str o y t hi s c o m m u ni c ati o n a n d
                            all c o pi e s t h er e of, i n cl u di n g al l att a c h m e nt s.



  Fr o m: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >
  S e nt: T u es d a y, M ar c h 1, 2 0 2 2 1 0: 5 0 A M
  T o: K e n n et h Tr ujill o-J a mis o n <ktr ujill o-j a mis o n @ will e n k e n. c o m >
  C c: P a ul L o h <pl o h @ will e n k e n. c o m >; Li k a C. Mi y a k e < l mi y a k e @ will e n k e n. c o m>; Kir b y Hs u
  < k hs u @ will e n k e n. c o m >; J uli e C o ntr er as < j c o ntr er as @ will e n k e n. c o m>; Lis a Gi b b o ns
  < l gi b b o ns @ will e n k e n. c o m>; R o b ert S c h w artz < r o b erts c h w artz @ q ui n n e m a n u el. c o m>; Al e x S pir o
                                                                                                 20
Case 2:21-cv-04848-PA-KS Document 160 Filed 06/17/22 Page 58 of 65 Page ID #:6145
  <alexspiro@quinnemanuel.com>; Cory Struble <corystruble@quinnemanuel.com>;
  stevenmarenberg@paulhastings.com; kiauraclark@paulhastings.com; Sarah Hsia
  <sarah@rockstonelegal.com>
  Subject: RE: [EXTERNAL] RE: Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS

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  Kenneth,

  Thank you for your email.

  We’re not able to move Ms. Matute’s deposition from March 5 to March 4 because Mr. Carter’s
  deposition is that same day, but we are willing to move her deposition to Thursday, March
  10. We are also willing to start her deposition at 7 am Pacific Time on March 5 or March
  10. And we agree that Ms. Matute’s deposition will not be videotaped given that she will be
  testifying in both an individual and representative capacity. Please let us know if Ms. Matute
  prefers March 5 or March 10.

  We are willing to start Mr. Davidov’s deposition at 7 am Pacific Time on March 7.

  We are willing to start Mr. Mannion’s deposition at 8 am Pacific Time on March 3.

  We are confirmed for Ms. Perez’s deposition on Monday, March 14.

  Finally, we will revert back on Wednesday regarding Mr. Burke’s deposition.

  Thank you,

  Dylan Bonfigli
  Associate
  Quinn Emanuel Urquhart & Sullivan, LLP
  865 S. Figueroa Street, 10th Floor
  Los Angeles, CA 90017
  443-370-6747 Cell
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  213-443-3000 Main Office Number
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  From: Kenneth Trujillo-Jamison <ktrujillo-jamison@willenken.com>
  Sent: Monday, February 28, 2022 10:30 PM
  To: Dylan Bonfigli <dylanbonfigli@quinnemanuel.com>
  Cc: Paul Loh <ploh@willenken.com>; Lika C. Miyake <lmiyake@willenken.com>; Kirby Hsu
  <khsu@willenken.com>; Julie Contreras <jcontreras@willenken.com>; Lisa Gibbons
  <lgibbons@willenken.com>; Robert Schwartz <robertschwartz@quinnemanuel.com>; Alex Spiro
  <alexspiro@quinnemanuel.com>; Cory Struble <corystruble@quinnemanuel.com>;
  stevenmarenberg@paulhastings.com; kiauraclark@paulhastings.com; Sarah Hsia
  <sarah@rockstonelegal.com>
  Subject: RE: [EXTERNAL] RE: Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS


                              [EXTERNAL EMAIL from ktrujillo-jamison@willenken.com]

                                                       21
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  D yl a n,

  W e ar e i n a gr e e m e nt as t o h o w t h e d e p o siti o ns of Ms. P er ez, S. C art er E nt er pris es, a n d t h e 5 R o c N ati o n
  E ntiti es will b e c o u nt e d f or t h e d e p o siti o n li mit. W e c o nfir m t h at w e ar e willi n g t o c o ns oli d at e Mr.
  M a n ni o n’s, M s. M at ut e’s, a n d Ms. P er ez’s r e s p e cti v e i n di vi d u al a n d r e pr es e nt ati v e d e p ositi o ns t o a
  si n gl e d a y e a c h. U n d er t his a gr e e m e nt, M ar c h 4 is n o l o n g er n e e d e d f or J M P’s 3 0( b)( 6) d e p ositi o n. Ms.
  M at ut e is a v ail a bl e t h at d a y, a n d t o a c c o m m o d at e h er s c h e d ul e a n d t o a v oi d a d e p o siti o n o n S at ur d a y,
  w e pr o p o s e t h at h er d e p o siti o n pr o c e e d o n t h at d at e. Als o, p er t h e p arti es' a gr e e m e nt, t h e d e p o siti o ns
  of Mr. M a n ni o n a n d J M P L L C will n ot b e vi d e or e c or d e d. Ms. M at ut e will als o b e t estif yi n g as a
  r e pr es e nt ati v e wit n ess, a n d pl ai ntiff h as a gr e e d t h at h er i n di vi d u al d e p ositi o n will b e c o n d u ct e d
  c o n c urr e ntl y. A c c or di n gl y, pl e as e s er v e a m e n d e d d e p ositi o n n oti c es/ s u b p o e n as f or Mr. M a n ni o n, Ms.
  M at ut e a n d J M P L L C pr o vi di n g t h at t h eir d e p o siti o ns will n ot b e vi d e or e c or d e d.

  F or Ms. P er e z’s d e p ositi o n, w e ar e a v ail a bl e o n M ar c h 1 4.

  W e ar e s ur pris e d at y o ur r ef us al t o a c c o m m o d at e t h e E ast C o ast wit n e ss es’ s c h e d ul e t o st art t h e
  d e p o siti o ns i n t h e m or ni n g f or t h e m. As y o u ar e a w ar e fr o m o ur m a n y e m ails tr yi n g t o s e c ur e d e p ositi o n
  d at es, w e h a v e b e e n m or e t h a n willi n g t o a c c o m m o d at e t h e s c h e d ul es of Pl ai ntiff, Ms. P er ez, a n d Ms.
  Fl eis h m a n. A n d u nli k e Mr. P atri c k a n d Mr. K e m pl er, w h o s e d e p o siti o ns c o n cl u d e d w ell b ef or e t h e cl os e
  of b usi n ess o n t h e E ast C o ast, w e e x p e ct t h at t h e d e p ositi o ns of Mr. M a n ni o n a n d Ms. M at ut e — w h o, as
  y o u k n o w, ar e d esi g n at e d as wit n ess es i n b ot h t h eir i n di vi d u al a n d r e pr es e nt ati v e c a p a citi es — will
  e xt e n d c o nsi d er a bl y l o n g er, p ot e nti all y w ell i nt o t h e e v e ni n g f or t h e m. As f or Mr. D a vi d o v, w e w o ul d
  e x p e ct t h at y o u w o ul d a c c o m m o d at e t h e s c h e d ul e of a n o n- p art y wit n ess, as w e di d f or Mr. B ur k e. W e
  r eit er at e o ur r e q u est t o a c c o m m o d at e t h eir s c h e d ul es a n d st art t h e d e p o siti o ns i n t h e m or ni n g E ast
  C o ast ti m e.

  T h a n ks f or y o ur cl arifi c ati o n a b o ut Pl ai ntiff’s p o siti o n o n Mr. S c h w artz’s d e p ositi o n.

  Fi n all y, wit h r es p e ct t o Mr. B ur k e’s d e p ositi o n, pl e as e l et us k n o w n o l at er t h a n t his W e d n e s d a y w h et h er
  y o u i nt e n d t o r es u m e his d e p ositi o n o n M ar c h 7. If s o, w e will n e e d t o dis c uss t h e ti mi n g of his a n d Mr.
  D a vi d o v’s d e p ositi o n t o a v oi d d o u bl e tr a c ki n g.

  R e g ar ds,



                        K e n n et h M. Tr ujill o- J a mi s o n
                        Dir e ct: 2 1 3. 9 5 5. 8 0 3 1 | F a x: 2 1 3. 9 5 5. 9 2 5 0 | ktr ujill o-j a mi s o n @ will e n k e n. c o m | w w w.li n k e di n. c o m/i n/ k e n n et h-tr ujill o- j a mi
                        WI L L E N K E N L L P | 7 0 7 Wil s hir e Bl v d. | S uit e 3 8 5 0 | L o s A n g el e s, C A 9 0 0 1 7 | will e n k e n. c o m |



                        T h e i nf or m ati o n c o nt ai n e d i n t hi s c o m m u ni c ati o n i s c o nfi d e nti al, m a y b e att or n e y- cli e nt pri vil e g e d, m a y c o n stit ut e i n si d e
                        i nf or m ati o n, a n d i s i nt e n d e d o nl y f or t h e u s e of t h e a d dr e s s e e. It i s t h e pr o p ert y of Will e n k e n L L P. U n a ut h ori z e d u s e,
                        di s cl o s ur e, or c o p yi n g of t hi s c o m m u ni c ati o n or a n y p art t h er e of i s stri ctl y pr o hi bit e d a n d m a y b e u nl a wf ul. If y o u h a v e
                        r e c ei v e d t hi s c o m m u ni c ati o n i n err or, pl e a s e n otif y u s i m m e di at el y b y r et ur n e m ail a n d d e str o y t hi s c o m m u ni c ati o n a n d
                        all c o pi e s t h er e of, i n cl u di n g al l att a c h m e nt s.



  Fr o m: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >
  S e nt: M o n d a y, F e br u ar y 2 8, 2 0 2 2 1 1: 0 5 A M
  T o: K e n n et h Tr ujill o-J a mis o n <ktr ujill o-j a mis o n @ will e n k e n. c o m >
  C c: P a ul L o h <pl o h @ will e n k e n. c o m >; Li k a C. Mi y a k e < l mi y a k e @ will e n k e n. c o m>; Kir b y Hs u

                                                                                             22
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  <khsu@willenken.com>; Julie Contreras <jcontreras@willenken.com>; Lisa Gibbons
  <lgibbons@willenken.com>; Robert Schwartz <robertschwartz@quinnemanuel.com>; Alex Spiro
  <alexspiro@quinnemanuel.com>; Cory Struble <corystruble@quinnemanuel.com>;
  stevenmarenberg@paulhastings.com; kiauraclark@paulhastings.com; Sarah Hsia
  <sarah@rockstonelegal.com>
  Subject: RE: [EXTERNAL] RE: Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS

  CAUTION: This email originated from outside of the organization. Do not click links or open attachments
  unless you recognize the sender and know the content is safe.

  Kenneth,

  Thank you for that clarification. For the sake of compromise only and without waiver of any
  objections, for purposes of the deposition limit we are willing to agree that the depositions of Ms.
  Perez, S. Carter Enterprises, and the 5 Roc Nation entities will count as 2 depositions. We of
  course reserve the right to oppose any application to exceed the deposition limit.

  Based on that, please confirm that Defendants are willing to agree to consolidate Mr. Mannion’s
  individual and representative depositions to a single day, March 3; to consolidate Ms. Matute’s
  individual and representative depositions to a single day, March 5; and to consolidate Ms.
  Perez’s individual and representative depositions to a single day on a date to be determined.

  As to Ms. Perez’s depositions, March 10 or 11 does not work for us; March 14 and 15 are being
  held on Ms. Perez’s calendar. Can you please propose alternative dates if March 14 or 15 still
  does not work.

  Also, we are not able to move the noticed depositions to start at 7:00 a.m. Pacific Time. This
  case and many of the attorneys are based in California, and there have already been two
  depositions of witnesses based on the East Coast (Mr. Patrick and Mr. Kempler) that started at
  10:00 a.m. Pacific Time / 1:00 p.m. Eastern Time—an hour later than the time we noticed for the
  depositions of Mr. Mannion, Ms. Matute, and Mr. Davidov.

  Finally, to be clear, we never agreed that Defendants are “entitled to Mr. Schwartz’s deposition
  should Plaintiff decide to offer testimony or evidence about the May 25, 2021 call at trial or
  summary judgment.” We agreed that Defendants could depose Mr. Schwartz if Plaintiff offered
  evidence from Mr. Schwartz regarding the May 25, 2021 call. But Defendants would not be
  entitled to depose Mr. Schwartz if, for example, Plaintiff offered evidence from Mr. Davidov or
  Mr. Mannion about that call.

  Regards,

  Dylan Bonfigli
  Associate
  Quinn Emanuel Urquhart & Sullivan, LLP
  865 S. Figueroa Street, 10th Floor
  Los Angeles, CA 90017
  443-370-6747 Cell
  213-443-3610 Direct
  213-443-3000 Main Office Number
  213-443-3100 Fax
  dylanbonfigli@quinnemanuel.com
  www.quinnemanuel.com




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  Fr o m: K e n n et h Tr ujill o-J a mis o n <ktr ujill o-j a mis o n @ will e n k e n. c o m >
  S e nt: Fri d a y, F e br u ar y 2 5, 2 0 2 2 3: 2 7 P M
  T o: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >
  C c: P a ul L o h <pl o h @ will e n k e n. c o m >; Li k a C. Mi y a k e < l mi y a k e @ will e n k e n. c o m>; Kir b y Hs u
  < k hs u @ will e n k e n. c o m >; J uli e C o ntr er as < j c o ntr er as @ will e n k e n. c o m>; Lis a Gi b b o ns
  < l gi b b o ns @ will e n k e n. c o m>; R o b ert S c h w artz < r o b erts c h w artz @ q ui n n e m a n u el. c o m>; Al e x S pir o
  < al e xs pir o @ q ui n n e m a n u el. c o m >; C or y Str u bl e < c or ystr u bl e @ q ui n n e m a n u el. c o m >;
  st e v e n m ar e n b er g @ p a ul h asti n gs. c o m ; ki a ur a cl ar k @ p a ul h asti n gs. c o m ; S ar a h Hsi a
  < s ar a h @r o c kst o n el e g al. c o m >
  S u bj e ct: R E: [ E X T E R N A L] R E: S h a w n C art er v. J o n at h a n M a n ni o n et al, C. D. C al., 2: 2 1- c v- 0 4 8 4 8- P A- K S


                                           [ E X T E R N A L E M AI L fr o m ktr ujill o-j a mis o n @ will e n k e n. c o m ]




  D yl a n,

  T h a n ks f or y o ur e m ail. D ef e n d a nts d o n ot c urr e ntl y i nt e n d o n t a ki n g a n y f a ct d e p ositi o ns ot h er t h a n
  t h o s e list e d i n m y F e br u ar y 1 1 e m ail, e x c e pt t h at D ef e n d a nts ar e, u n d er t h e p arti es’ pr e vi o us
  a gr e e m e nt, e ntitl e d t o Mr. S c h w artz’ s d e p o siti o n s h o ul d Pl ai ntiff d e ci d e t o off er t esti m o n y or e vi d e n c e
  a b o ut t h e M a y 2 5, 2 0 2 1 c all at tri al or s u m m ar y j u d g m e nt. D ef e n d a nts w o ul d als o r es er v e t h e ri g ht t o
  s e e k l e a v e of c o urt t o c o n d u ct d e p ositi o ns n ot list e d i n o ur F e br u ar y 1 1 e m ail.

  R e g ar ds,



                        K e n n et h M. Tr ujill o- J a mi s o n
                        Dir e ct: 2 1 3. 9 5 5. 8 0 3 1 | F a x: 2 1 3. 9 5 5. 9 2 5 0 | ktr ujill o-j a mi s o n @ will e n k e n. c o m | w w w.li n k e di n. c o m/i n/ k e n n et h-tr ujill o- j a mi
                        WI L L E N K E N L L P | 7 0 7 Wil s hir e Bl v d. | S uit e 3 8 5 0 | L o s A n g el e s, C A 9 0 0 1 7 | will e n k e n. c o m |



                        T h e i nf or m ati o n c o nt ai n e d i n t hi s c o m m u ni c ati o n i s c o nfi d e nti al, m a y b e att or n e y- cli e nt pri vil e g e d, m a y c o n stit ut e i n si d e
                        i nf or m ati o n, a n d i s i nt e n d e d o nl y f or t h e u s e of t h e a d dr e s s e e. It i s t h e pr o p ert y of Will e n k e n L L P. U n a ut h ori z e d u s e,
                        di s cl o s ur e, or c o p yi n g of t hi s c o m m u ni c ati o n or a n y p art t h er e of i s stri ctl y pr o hi bit e d a n d m a y b e u nl a wf ul. If y o u h a v e
                        r e c ei v e d t hi s c o m m u ni c ati o n i n err or, pl e a s e n otif y u s i m m e di at el y b y r et ur n e m ail a n d d e str o y t hi s c o m m u ni c ati o n a n d
                        all c o pi e s t h er e of, i n cl u di n g al l att a c h m e nt s.



  Fr o m: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >
  S e nt: Fri d a y, F e br u ar y 2 5, 2 0 2 2 2: 3 6 P M
  T o: K e n n et h Tr ujill o-J a mis o n <ktr ujill o-j a mis o n @ will e n k e n. c o m >
  C c: P a ul L o h <pl o h @ will e n k e n. c o m >; Li k a C. Mi y a k e < l mi y a k e @ will e n k e n. c o m>; Kir b y Hs u
  < k hs u @ will e n k e n. c o m >; J uli e C o ntr er as < j c o ntr er as @ will e n k e n. c o m>; Lis a Gi b b o ns
  < l gi b b o ns @ will e n k e n. c o m>; R o b ert S c h w artz < r o b erts c h w artz @ q ui n n e m a n u el. c o m>; Al e x S pir o
  < al e xs pir o @ q ui n n e m a n u el. c o m >; C or y Str u bl e < c or ystr u bl e @ q ui n n e m a n u el. c o m >;
  st e v e n m ar e n b er g @ p a ul h asti n gs. c o m ; ki a ur a cl ar k @ p a ul h asti n gs. c o m ; S ar a h Hsi a
  < s ar a h @r o c kst o n el e g al. c o m >
  S u bj e ct: R e: [ E X T E R N A L] R E: S h a w n C art er v. J o n at h a n M a n ni o n et al, C. D. C al., 2: 2 1- c v- 0 4 8 4 8- P A- K S

  C A U TI O N : T his e m ail ori gi n at e d fr o m o utsi d e of t h e or g a niz ati o n. D o n ot cli c k li n ks or o p e n att a c h m e nts
  u nl ess y o u r e c o g niz e t h e s e n d er a n d k n o w t h e c o nt e nt is s af e.


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  Kenneth,

  We will respond to your email in full as soon as we can, but we respond now on your proposal regarding
  treating the depositions of Ms. Perez and six non-parties as one single deposition. On February 25, we
  followed up on your request to exceed the ten-deposition limit. We asked you to confirm that the list of
  depositions contained in your February 11 email were all the depositions you intended to take. We need
  an answer to that question to consider your proposal regarding treating multiple depositions as one.

  Thank you,

  Dylan Bonfigli
  Associate
  Quinn Emanuel Urquhart & Sullivan, LLP
  865 S. Figueroa Street, 10th Floor
  Los Angeles, CA 90017
  443-370-6747 Cell
  213-443-3610 Direct
  213-443-3000 Main Office Number
  213-443-3100 Fax
  dylanbonfigli@quinnemanuel.com
  www.quinnemanuel.com




          On Feb 25, 2022, at 10:58, Kenneth Trujillo-Jamison <ktrujillo-jamison@willenken.com>
          wrote:



                              [EXTERNAL EMAIL from ktrujillo-jamison@willenken.com]




          Dylan,

          We are writing about several outstanding issues related to depositions.

          First, Defendants are willing to consolidate Mr. Mannion’s individual and 30(b)(6)
          depositions, and would also be willing to consolidate Ms. Matute’s and Ms. Perez’s
          individual and 30(b)(6) depositions to each occur on one day, respectively, on the
          condition that Plaintiff agrees that Ms. Perez’s deposition and the 6 entities she will
          represent will count as only 1 deposition for purposes of the 10-deposition limit set
          forth in FRCP 30. Please let us know if Plaintiff agrees to this proposal.

          Second, the dates you have proposed for Ms. Perez’s deposition do not work for our
          side. And Defendants have not agreed to conduct depositions after the week of March
          7. We are available on March 10 and 11. Assuming you will agree with our proposal
          above, we would need to reserve only one of those days for her deposition.

          Third, the deposition notices or subpoenas for the depositions of Mr. Mannion, Ms.
          Matute, JMP, and Mr. Davidov all list 9 am Pacific as the start time. Each of these
          witnesses are located on the east coast. To accommodate the witnesses’ and counsel’s
          schedules, we would propose that all of these depositions begin at 10 am Eastern/7 am
          Pacific. Assuming you will agree, please serve amended subpoenas and notices
          reflecting that start time.

          Regards,
                                                       25
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                              K e n n et h M. Tr ujill o- J a mi s o n
                              Dir e ct: 2 1 3. 9 5 5. 8 0 3 1 | F a x: 2 1 3. 9 5 5. 9 2 5 0 | ktr ujill o-j a mi s o n @ will e n k e n. c o m | w w w.li n k e di n. c o m/i n/ k e n n et h- tr
                              WI L L E N K E N L L P | 7 0 7 Wil s hir e Bl v d. | S uit e 3 8 5 0 | L o s A n g el e s, C A 9 0 0 1 7 | will e n k e n. c o m |



                              T h e i nf or m ati o n c o nt ai n e d i n t hi s c o m m u ni c ati o n i s c o nfi d e nti al, m a y b e att or n e y- cli e nt pri vil e g e d, m a y c o n stit ut e i n si d e
                              i nf or m ati o n, a n d i s i nt e n d e d o nl y f or t h e u s e of t h e a d dr e s s e e. It i s t h e pr o p ert y of Will e n k e n L L P. U n a ut h ori z e d u s e,
                              di s cl o s ur e, or c o p yi n g of t hi s c o m m u ni c ati o n or a n y p art t h er e of i s stri ctl y pr o hi bit e d a n d m a y b e u nl a wf ul. If y o u h a v e
                              r e c ei v e d t hi s c o m m u ni c ati o n i n err or, pl e a s e n otif y u s i m m e di at el y b y r et ur n e m ail a n d d e str o y t hi s c o m m u ni c ati o n a n d
                              all c o pi e s t h er e of, i n cl u di n g all att a c h m e nt s.



        Fr o m: K e n n et h Tr ujill o-J a mis o n
        S e nt: W e d n es d a y, F e br u ar y 2 3, 2 0 2 2 6: 0 1 P M
        T o: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >
        C c: P a ul L o h <pl o h @ will e n k e n. c o m >; Li k a C. Mi y a k e < l mi y a k e @ will e n k e n. c o m>; Kir b y
        Hs u < k hs u @ will e n k e n. c o m >; J uli e C o ntr er as < j c o ntr er as @ will e n k e n. c o m>; Lis a Gi b b o ns
        < l gi b b o ns @ will e n k e n. c o m>; R o b ert S c h w artz < r o b erts c h w artz @ q ui n n e m a n u el. c o m>;
        Al e x S pir o < al e xs pir o @ q ui n n e m a n u el. c o m >; C or y Str u bl e
        < c or ystr u bl e @ q ui n n e m a n u el. c o m >; st e v e n m ar e n b er g @ p a ul h asti n gs. c o m ;
        ki a ur a cl ar k @ p a ul h asti n gs. c o m ; S ar a h Hsi a <s ar a h @r o c kst o n el e g al. c o m >
        S u bj e ct: R E: [ E X T E R N A L] R E: S h a w n C art er v. J o n at h a n M a n ni o n et al, C. D. C al., 2: 2 1- c v-
        0 4 8 4 8- P A- K S

        D yl a n,

        T h a n ks f or y o ur e m ail. T h e o bj e cti o ns h a v e a t y p o: Ms. M at ut e’s n a m e is M arj ori et
        M at ut e, a n d M arj ori et G u e c h e is t h e s a m e p ers o n. At d e p ositi o n, y o u c a n r ef er t o h er as
        Ms. M at ut e.

        As f or c o ns oli d ati n g Mr. M a n ni o n’s i n di vi d u al a n d 3 0( b)( 6) d e p ositi o ns, y o u as k e d f or
        o ur p ositi o n o n t h at r e q u est j ust y est er d a y, a n d t h at e m ail a s k e d us t o st at e o ur p ositi o n
        b y t his Fri d a y. W e ar e c o nsi d eri n g y o ur r e q u est, a n d will r es p o n d b y Fri d a y.

        R e g ar ds,



                              K e n n et h M. Tr ujill o- J a mi s o n
                              Dir e ct: 2 1 3. 9 5 5. 8 0 3 1 | F a x: 2 1 3. 9 5 5. 9 2 5 0 | ktr ujill o-j a mi s o n @ will e n k e n. c o m | w w w.li n k e di n. c o m/i n/ k e n n et h- tr
                              WI L L E N K E N L L P | 7 0 7 Wil s hir e Bl v d. | S uit e 3 8 5 0 | L o s A n g el e s, C A 9 0 0 1 7 | will e n k e n. c o m |



                              T h e i nf or m ati o n c o nt ai n e d i n t hi s c o m m u ni c ati o n i s c o nfi d e nti al, m a y b e att or n e y- cli e nt pri vil e g e d, m a y c o n stit ut e i n si d e
                              i nf or m ati o n, a n d i s i nt e n d e d o nl y f or t h e u s e of t h e a d dr e s s e e. It i s t h e pr o p ert y of Will e n k e n L L P. U n a ut h ori z e d u s e,
                              di s cl o s ur e, or c o p yi n g of t hi s c o m m u ni c ati o n or a n y p art t h er e of i s stri ctl y pr o hi bit e d a n d m a y b e u nl a wf ul. If y o u h a v e
                              r e c ei v e d t hi s c o m m u ni c ati o n i n err or, pl e a s e n otif y u s i m m e di at el y b y r et ur n e m ail a n d d e str o y t hi s c o m m u ni c ati o n a n d
                              all c o pi e s t h er e of, i n cl u di n g al l att a c h m e nt s.



        Fr o m: D yl a n B o nfi gli <d yl a n b o nfi gli @ q ui n n e m a n u el. c o m >
        S e nt: W e d n es d a y, F e br u ar y 2 3, 2 0 2 2 1 0: 4 4 A M
                                                                                   26
Case 2:21-cv-04848-PA-KS Document 160 Filed 06/17/22 Page 64 of 65 Page ID #:6151
        To: Kenneth Trujillo-Jamison <ktrujillo-jamison@willenken.com>
        Cc: Paul Loh <ploh@willenken.com>; Lika C. Miyake <lmiyake@willenken.com>; Kirby
        Hsu <khsu@willenken.com>; Julie Contreras <jcontreras@willenken.com>; Lisa Gibbons
        <lgibbons@willenken.com>; Robert Schwartz <robertschwartz@quinnemanuel.com>;
        Alex Spiro <alexspiro@quinnemanuel.com>; Cory Struble
        <corystruble@quinnemanuel.com>; stevenmarenberg@paulhastings.com;
        kiauraclark@paulhastings.com; Sarah Hsia <sarah@rockstonelegal.com>
        Subject: [EXTERNAL] RE: Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-
        04848-PA-KS

        CAUTION: This email originated from outside of the organization. Do not click links or
        open attachments unless you recognize the sender and know the content is safe.

        Kenneth,

        We noticed that JMP’s objections to the 30(b)(6) deposition notice designate
        “Marjorie Matute” to testify as to certain topics. Please confirm that “Marjorie
        Matute” also goes by “Marjoriet Matute” and “Marjoriet Gueche,” and if so,
        please let us know how she would prefer to be addressed at deposition.

        Also, we think it would be a waste of Mr. Mannion’s time, and everyone else’s, to
        require him to sit through a 30(b)(6) deposition on the topics for which he’s being
        designated, after sitting through his 30(b)(1) deposition and propose that we agree
        to consolidate his March 3 deposition for both purposes.

        Thank you,

        Dylan Bonfigli
        Associate
        Quinn Emanuel Urquhart & Sullivan, LLP
        865 S. Figueroa Street, 10th Floor
        Los Angeles, CA 90017
        443-370-6747 Cell
        213-443-3610 Direct
        213-443-3000 Main Office Number
        213-443-3100 Fax
        dylanbonfigli@quinnemanuel.com
        www.quinnemanuel.com




        From: Lisa Gibbons <lgibbons@willenken.com>
        Sent: Tuesday, February 22, 2022 5:00 PM
        To: Dylan Bonfigli <dylanbonfigli@quinnemanuel.com>; Robert Schwartz
        <robertschwartz@quinnemanuel.com>; Alex Spiro <alexspiro@quinnemanuel.com>;
        Cory Struble <corystruble@quinnemanuel.com>; stevenmarenberg@paulhastings.com;
        kiauraclark@paulhastings.com; Sarah Hsia <sarah@rockstonelegal.com>
        Cc: Paul Loh <ploh@willenken.com>; Lika C. Miyake <lmiyake@willenken.com>;
        Kenneth Trujillo-Jamison <ktrujillo-jamison@willenken.com>; Kirby Hsu
        <khsu@willenken.com>; Julie Contreras <jcontreras@willenken.com>
        Subject: Shawn Carter v. Jonathan Mannion et al, C.D. Cal., 2:21-cv-04848-PA-KS


                               [EXTERNAL EMAIL from lgibbons@willenken.com]




                                                    27
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        C o u ns el,

        Pl e a s e s e e att a c h e d f or D ef e n d a nt J o n at h a n M a n ni o n P h ot o gr a p h y L L C’s O bj e cti o n t o
        Pl ai ntiff’s N oti c e of D e p ositi o n P urs u a nt t o F. R. C. P. 3 0( b)( 6) i n c o n n e cti o n wit h t h e
        a b o v e-r ef er e n c e d c as e.

        T h a n k y o u.

                              Li s a S. Gi b b o n s A S SI S T A N T T O P A U L J. L O H, LI K A C. MI Y A K E A N D K E N N E T H M. T R U JI L L O- J A MI S O N
                              Dir e ct: 2 1 3. 9 5 5. 8 0 2 6 | F a x: 2 1 3. 9 5 5. 9 2 5 0 | l gi b b o n s @ will e n k e n. c o m
                              WI L L E N K E N L L P | 7 0 7 Wil s hir e Bl v d. | S uit e 3 8 5 0 | L o s A n g el e s, C A 9 0 0 1 7 | will e n k e n. c o m



                              T h e i nf or m ati o n c o nt ai n e d i n t hi s c o m m u ni c ati o n i s c o nfi d e nti al, m a y b e att or n e y- cli e nt pri vil e g e d, m a y c o n stit ut e i n si d e
                              i nf or m ati o n, a n d i s i nt e n d e d o nl y f or t h e u s e of t h e a d dr e s s e e. It i s t h e pr o p ert y of Will e n k e n L L P. U n a ut h ori z e d u s e,
                              di s cl o s ur e, or c o p yi n g of t hi s c o m m u ni c ati o n or a n y p art t h er e of i s stri ctl y pr o hi bit e d a n d m a y b e u nl a wf ul. If y o u h a v e
                              r e c ei v e d t hi s c o m m u ni c ati o n i n err or, pl e a s e n otif y u s i m m e di at el y b y r et ur n e m ail a n d d e str o y t hi s c o m m u ni c ati o n a n d
                              all c o pi e s t h er e of, i n cl u di n g al l att a c h m e nt s.




                                                                                   28
